                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


 HUNTER LINGNOFSKI,                                  Civil Action No.

                    Plaintiff,                       COMPLAINT

        v.                                           DEMAND FOR JURY TRIAL

 JUUL LABS, INC. PAX LABS, INC.,
 ALTRIA GROUP, INC., AND PHILIP
 MORRIS USA, INC.


                    Defendants.




       Plaintiff Hunter Lingnofski, by and through his undersigned counsel, brings this Complaint

against Defendants JUUL Labs, Inc., PAX Labs, Inc., Altria Group, Inc. and Philip Morris USA,

Inc. (hereinafter “Defendants”) and alleges as follows:

I.     INTRODUCTION
       1.      Mr. Lingnofski is a bright 19-year-old who has developed severe nicotine addiction

and mood disorders as a result of Defendants’ orchestrated efforts to addict a new generation of

teenagers to nicotine. He continues to be severely addicted to nicotine, and this addiction will

burden the remainder of his life.     Defendants’ wrongful conduct in marketing, promoting,

manufacturing, designing, distributing, and selling JUUL substantially contributed to Mr.
Lingnofski’s life-altering and permanent injuries.

       2.      In 2015, JUUL set out to recapture the magic of the most successful product ever

made—the cigarette.      Due to regulations and court orders preventing the major cigarette

manufacturers from marketing to young people, youth smoking had decreased to its lowest levels

in decades. While the public health community celebrated this decline as a victory, JUUL saw an

opportunity. Seizing on regulatory inaction and loopholes for e-cigarettes, JUUL set out to
develop and market a highly addictive product that could be packaged and sold to young people.




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Youth is and has always been the most sought-after market for cigarette companies, because they

are the most vulnerable to nicotine addiction and are most likely to become customers for life.

       3.      JUUL was designed perfectly for teenagers. It does not look or smell like a

cigarette. It is a sleek, high-tech youth-friendly battery-powered device that looks like a USB

drive. The JUUL device heats a nicotine-filled liquid JUUL pod, sold separately in fun flavors

like mango and cool mint, delivering powerfully potent doses of nicotine, along with aerosol and

other toxic chemicals into the lungs, body and brain. Unlike noxious cigarette smoke, when a

JUUL user exhales, the smoke is undetectable. JUUL is small, easily concealable and can be used

practically anywhere without parents or teachers knowing; just Google “JUUL in school” and find

more than 23,000 videos on how to JUUL anywhere without detection. This is part of the appeal,

fostered and bolstered by JUUL’s viral marketing campaigns using young models to make the

products look cool and stylish.

       4.      Defendants designed JUUL to quickly and severely addict young people to

nicotine, one of the most addictive chemicals in the world. By studying cigarette industry archives,

JUUL learned how to manipulate the nicotine in its products to maximize addictiveness,

particularly among new users and young people, and thereby increase sales. JUUL designed its

products to have maximum inhalability, without any “throat hit” or irritation that would serve as a

natural deterrent to new users. The sole purpose of this design element was to initiate new
smokers, since those who already smoke cigarettes are tolerant to the throat hit sensation and

associate it with smoking and nicotine satisfaction. At the same time, JUUL designed its device

to deliver substantially higher concentrations of nicotine per puff than traditional cigarettes and

most other e-cigarettes. This combination of ease of inhalation and high nicotine delivery makes

JUUL both powerfully addictive and dangerous.

       5.      Nicotine is particularly dangerous to young people whose brains are still developing

through the mid-20s. Nicotine is not only addictive developing adolescent brains, but it also

induces seizures and it permanently alters the structure of the brain and causes permanent mood
changes and other cognitive disorders.



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        6.       Several studies, including one recently released by the American Stroke

Association, have shown that e-cigarettes increase the risk of stroke, heart attack and coronary

artery disease.1 Other studies have shown that e-cigarettes containing nicotine significantly

increase blood pressure, heart rate and arterial stiffness, and also cause vascular damage, which

can lead to strokes and other cardiovascular injuries. These studies build on the well-established

research that nicotine increases blood pressure.

        7.       The United States Surgeon General has concluded that e-cigarettes, including

JUUL, are not safe for anyone under age 26.2

        8.       Even though e-cigarettes are unsafe for anyone under 26, JUUL heavily promoted

its products to young people. Following the wildly successful playbook laid out in historic

cigarette industry documents, Defendants leveraged social media and utilized other marketing and

promotion tactics, long outlawed for cigarette companies, to capture the highly-lucrative youth

market. JUUL preyed on youth using medium and themes that exploit teenagers’ vulnerabilities

to create and sustain nicotine addiction, all for financial gain, and without giving kids any warnings

about the serious risks of addiction, stroke, and other permanent injuries.

        9.       At the time Mr. Lingnofski used JUUL, none of JUUL’s advertising, marketing,

promotion, packaging or website disclosed any of the health effects and risks that JUUL knew or

should have known would occur from use of its products. These risks include severe nicotine
addiction, significant increases in blood pressure, vascular damage, increased risk of stroke, heart

attacks and other cardiovascular injuries, permanent brain changes, mood disorders, heightened

risk of cancer, seizures and other harms. JUUL never disclosed that it its products were unsafe for

anyone under age 26. Instead, the imaging, advertising, promotion, packaging and overall

marketing represented the product as safe, fun, and not harmful. As one of the JUUL founders has


1
  E-cigarettes linked to higher risk of stroke, heart attack, diseased arteries (Jan. 30, 2019) American Stroke
Association News Release, Abstract 9, Session A2, https://newsroom.heart.org/news/e-cigarettes-linked-to-higher-
risk-of-stroke-heart-attack-diseased-arteries (as of July 5, 2019).
2
 U.S Surgeon General and the U.S. Centers for Disease Control and Prevention, Office on Smoking and Health, Know
The Risks: E-cigarettes and Young People (2019) https://e-cigarettes.surgeongeneral.gov/ (as of July 5th, 2019).



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said: “We don’t think a lot about addiction here because we’re not trying to design a cessation

product at all…anything about health is not on our mind”.3 JUUL’s design, manufacturing,

marketing and distribution of this product has proven this statement to be true.

         10.      Since 2015 when JUUL hit the market, JUUL has become pervasive in schools

across the country and adolescent use is rampant. JUUL not only dominates the multi-billion

dollar e-cigarette market, it has expanded the size of that market significantly—mostly via young

non-smokers. The tobacco company Altria (formerly known as Philip Morris) acquired a 35%

stake in JUUL for $12.8 billion, giving Altria access to the new generation of customers JUUL has

groomed.

         11.      JUUL has created an epidemic. According to Alex Azar, the Secretary of the U.S.

Department of Health and Human Services, “We have never seen use of any substance by

America’s young people rise as rapidly as e-cigarette use is rising.”4 JUUL’s conduct has led to a

surge in teen e-cigarette use, creating the “largest ever recorded [increase in substance abuse] in

the past 43 years for any adolescent substance use outcome in the U.S.”5 In a mere two years,

Defendant undid more than a decade of progress in reducing teen smoking, thereby increasing

nicotine use among teenagers to levels not seen since the early 2000s. Plaintiff was both a target

and a victim of JUUL’s conduct.

         12.      As a result of Defendant’s conduct, Plaintiff has suffered life-altering personal
injuries and seeks all appropriate remedies and relief.




3
  Tiku, Startup behind the Lambo of vaporizers just launched an intelligent e-cigarette: Surprise, it's a rectangle, The
Verge (April 21, 2015) www.theverge.com/ 2015/4/21/8458629/pax-labs-e-cigarette-juul (as of July 5, 2019).
4
  Surgeon General releases advisory on E-cigarette epidemic among youth, U.S. Department of Health & Human
Services (Dec 18, 2018) www.hhs.gov/about/news/2018/12/18/surgeon-general-releases-advisory-e-cigarette-
epidemic-among-youth.html (as of July 5, 2019).
5
 Boyles, Surgeon General Calls for New E-Cig Restrictions: ‘I am officially declaring e-cigarette use among youth
an epidemic (Dec 28, 2018) www.medpagetoday.com/ primarycare/smoking/77000 (as of July 5, 2019).



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II.    JURISDICTION AND VENUE
       13.     This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. § 1332, as the parties are of diverse citizenship and the amount in controversy

exceeds $75,000, exclusive of costs and interests.

       14.     Specific jurisdiction in this District is appropriate because the product was

purchased and ingested in Wisconsin, and the Plaintiff was injured in Wisconsin.

       15.     This Court has personal jurisdiction over the Defendants, because they actively do

business in Langlade County in the Eastern District of Wisconsin. Defendants have purposely

availed themselves of the benefits, protections and privileges of the laws of the State of Wisconsin

through the promotion, marketing distribution and sale of the products at issue and have purposely

directed its activities in this State. Defendants have sufficient minimum contacts with this State

to render the exercise of jurisdiction by this Court permissible.

       16.     Venue is proper in the Eastern District of Wisconsin pursuant to W.S.A. § 801.50

because a substantial part of the events or omissions giving rise to the claims at issue in this

Complaint arose in this District and Defendants are subject to the Court’s personal jurisdiction

with respect to this action.

III.   THE PLAINTIFF
       17.     Mr. Lingnofski was not addicted to nicotine before trying JUUL for the first time

at only 17 years old. He had been offered to try JUUL by his high school friends. It only took one
puff of the JUUL before Mr. Lingnofski was addicted. Mr. Lingnofski thereafter began using and

purchasing JUUL vaping products however and wherever he could. Mr. Lingnofski was unaware

when he first began “JUULing” just how much nicotine the device contained nor was he aware of

the extent of addiction it would cause.

       18.     Prior to using a JUUL, none of the advertisements or in-store promotions Mr.

Lingnofski would have seen disclosed the nature or addiction risks of JUUL’s products, nor that

JUUL was engineered to deliver nicotine to the bloodstream more rapidly and in greater quantities




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than a cigarette. Nor did they indicate that the JUUL was an age-restricted product and not safe

for anyone under the age of 26.

       19.      Mr. Lingnofski was attracted to and most often used the mint flavor. In fact, the

flavors were a contributing reason to why Mr. Lingnofski initially started vaping. Mr. Lingnofski

quickly became severely addicted to nicotine from his use of JUUL, reaching the point of vaping

up to 3 full JUUL pods in one day at one point.

       20.      Mr. Lingnofski now struggles to function without nicotine. He experiences strong

mood swings and bouts of rage from withdrawal from the JUUL. Mr. Lingnofski’s severe

addiction to the nicotine levels contained in the JUUL created within his mood swings that did not

exist before.

       21.      Mr. Lingnofski still struggles with this nicotine addiction and will continue to

struggle with this addiction for the rest of his life. Mr. Lingnofski’s nicotine addiction from JUUL

permanently injured and altered his developed brain at a crucial age. In addition to his severe

nicotine addiction, mood disorders, and brain injury, Mr. Lingnofski has suffered harm through

exposure to significant toxic substances, which may cause or contribute to causing disease and

future health problems.

       22.      Defendants’ conduct has harmed Mr. Lingnofski physically, emotionally, mentally

and financially.

IV.    THE DEFENDANTS
       A. Defendants

       23.      Defendant JUUL Labs, Inc. (“JUUL”) is a Delaware corporation, having its

principal place of business in San Francisco, California. JUUL originally operated under the name

PAX Labs, Inc. In 2017, it was renamed JUUL Labs, Inc. JUUL manufactures, designs, sells,

markets, promotes and distributes JUUL e-cigarettes. JUUL ratified each and every act or

omission alleged herein in proximately causing the injuries and damages alleged herein.

       24.      Defendant PAX Labs, Inc. (“PAX”) is a Delaware Corporation, having its principal
place of business in San Francisco, California. JUUL Labs, Inc. was originally a part of PAX, but



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was spun out as a separate company in 2017. A substantial portion of the conduct cited here

occurred while JUUL was part of PAX.

          25.     Defendant Altria Group, Inc. (“Altria”), is incorporated in Virginia and has its

principal place of business in Richmond, Virginia. Altria has partnered with JUUL Labs, Inc.

          26.     Defendant Philip Morris USA, Inc. (Philip Morris), is a whole-owned subsidiary of

Altria. Philip Morris is also a Virginia Corporation that has its principal place of business in

Richmond, Virginia. Philip Morris is the largest cigarettes company in the United States. Marlboro,

the principal cigarette brand of Philip Morris, has been the largest selling cigarette brand in the

United States for over 40 years.

          27.     Altria and Philip Morris are referred to collectively as the Altria Defendants.

In2018, Altria acquired 35% ownership in JUUL for $12.8 billion and access to Altria’s industry

infrastructure.

V.        FACTUAL ALLEGATIONS

          A.      JUUL Sought to Re-create the “Magic” of the Cigarette, the “Most Successful
                  Consumer Product of All Time”, using the Cigarette Industry’s Playbook.
          28.     JUUL’s founder James Monsees has described the cigarette as “the most successful

consumer product of all time . . . . an amazing product.”6 Because of “some problems” inherent in

the cigarette, JUUL’s founders set out to “deliver[] solutions that refresh the magic and luxury of

the tobacco category.”7
          29.     Monsees saw “a huge opportunity for products that speak directly to those

consumers who aren’t perfectly aligned with traditional tobacco products.”8 With a focus on

recreating the “ritual and elegance that smoking once exemplified,”9 Monsees and Adam Bowen


6
  Chaykowski, Billionaires-to-be: Cigarette breakers - James Monsees and Adam Bowen have cornered the US e-
cigarette market with Juul. Up next: The world, FORBES Magazine (Sep 27, 2018),
www.forbesindia.com/article/leaderboard/billionairestobe-cigarette-breakers/51425/1 (as of July 5, 2019).
7
 Mings, Ploom model Two Slays Smoking with Slick Design and Heated Tobacco Pods, Solid Smack (Apr 23, 2014),
www.solidsmack.com/ design/ploom-modeltwo-slick-design-tobacco-pods/ (as of July 5, 2019).
8
    Id.
9
 James Monsees – Co-founder and CEO of Ploom, IDEAMENSCH (Apr 11, 2014), https://ideamensch.com/james-
monsees/ (as of July 5, 2019).



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set out to “meet the needs of people who want to enjoy tobacco but don’t self-identify with — or

don’t necessarily want to be associated with — cigarettes.”10

           30.   JUUL used the cigarette industry’s prior practices as a playbook. Monsees has

publicly admitted that JUUL built its e-cigarette business by first consulting cigarette industry

documents, including board meeting minutes, made public under the Master Settlement Agreement

that had been reached between the cigarette industry, governmental officials, and injured smokers.

“[Industry documents] became a very intriguing space for us to investigate because we had so

much information that you wouldn’t normally be able to get in most industries. And we were able

to catch up, right, to a huge, huge industry in no time. And then we started building prototypes.”11

           31.   JUUL researched how cigarette companies had chemically manipulated nicotine

content to maximize delivery: “We started looking at patent literature. We are pretty fluent in

‘Patentese.’ And we were able to deduce what had happened historically in the tobacco industry.”

Among the documents JUUL would have found were those documenting how to manipulate

nicotine pH to maximize the delivery of nicotine in a youth-friendly vapor that delivers minimal

“throat hit”—a combination that creates unprecedented risks of nicotine abuse and addiction, as

detailed further below.12

           32.   JUUL also engaged former cigarette industry researchers to consult on the design

of their product. JUUL’s founder James Monsees noted in Wired magazine that “people who
understood the science and were listed on previous patents from tobacco companies aren’t at those

companies anymore. If you go to Altria’s R&D facility, it’s empty.” The Wired article stated that

“some of those people are now on Pax’s team of advisers, helping develop Juul.”13




10
     Id.
11
        Montoya,      Pax    Labs:     Origins     With      James     Monsees,        Social      Underground,
https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/ (as of July 5, 2019).
12
  Id.
13
  Pierce, This Might Just Be The First Great E-Cig, WIRED, (Apr 21, 2015), www.wired.com/2015/04/pax-juul-ecig/
(as of July 5, 2019).



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        33.      JUUL also used cigarette industry advertisements—which were created to lure

nonsmoking youth—as a blueprint for JUUL’s advertising campaigns. In a 2018 interview,

“Monsees indicated that the design of JUUL’s advertising had been informed by traditional

tobacco advertisements and that [the Stanford Research into Impact of Tobacco Advertising] had

been quite useful to them.”14

        34.      JUUL achieved its vision. Since its launch in 2015, JUUL has become the

dominant e-cigarette manufacturer in the United States. Its revenues grew by 700% in 2017.

According to a recent Wells-Fargo report, JUUL owns three-quarters of the e-cigarette market.15

        B.       JUUL is a Sleek, Easy to Conceal Nicotine Delivery Device with Kid-Friendly
                 Flavors.
        35.      The JUUL e-cigarette looks sleek and high-tech. JUUL looks like a USB flash

drive, and it actually charges in a computer’s USB drive. It is about the size and shape of a pack

of chewing gum; it is small enough to fit in a closed hand. JUUL is easy to conceal from parents

and teachers. The odor emitted from JUUL is a reduced aerosol without much scent – unlike the

distinct smell of conventional cigarettes.

        36.      The thin, rectangular JUUL e-cigarette device consists of an aluminum shell, a

battery, a magnet (for the USB-charger), a circuit board, an LED light, and a pressure sensor. Each

JUUL pod is a plastic enclosure containing 0.7 milliliters of JUUL’s patented nicotine liquid and




14
   Jackler et al., JUUL Advertising Over its First Three Years on the Market, Stanford Research into the Impact of
Tobacco        Advertising,    Stanford     University     School     of     Medicine      (Jan     31,    2019),
http://tobacco.stanford.edu/tobacco_main/ publications/JUUL_Marketing_Stanford.pdf (as of July 5, 2019).
15
    Durbin et al., Letter from United States Senators to Kevin Burns CEO JUUL Labs Inc. (Apr 8, 2019),
www.durbin.senate.gov/imo/media/doc/ FINAL%20JUUL%20Letter%204.8.19.pdf (as of July 5, 2019).




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a coil heater. When a sensor in the JUUL e-cigarette detects the movement of air caused by suction

on the JUUL pod, the battery in the JUUL device activates the heating element, which in turn

converts the nicotine solution in the JUUL pod into a vapor consisting principally of nicotine,

benzoic acid, glycerin, and propylene glycol. A light embedded in the JUUL device serves as a

battery level indicator and lights up in a “party mode” display of rainbow of colors when the device

is waved around.

        37.     JUUL manufactures and distributes its nicotine formulation as JUUL pods, which

contain JUUL’s nicotine liquid. JUUL exclusively sells its pods in four-packs, in a variety of




flavors, many of which have no combustible cigarette analog, including mango, “cool” cucumber,

fruit medley, “cool” mint, and crème brulee. According to a recent survey of more than 1,000 12

to 17-year-olds, 6.5% admitted to using a JUUL e-cigarette. Of those, 86% of users most recently

used fruit medley, mango, cool mint, or crème brulee.16



16
        Willett,      JUUL:     Recognition,        use    and       perceptions    (Apr   26,   2018),
www.publichealthlawcenter.org/sites/default/files/JUUL-Webinar-Slides-Apr262018.pdf
(as of July 5, 2019).



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        38.      The physical design of the JUUL device (including its circuit board) and JUUL pod

determines the amount of aerosolized nicotine the JUUL emits. By altering the temperature,

maximum puff duration, or airflow, among other things, Defendants can finely tune the amount of

nicotine vapor the JUUL delivers.17

        C.       E-Cigarettes Containing Nicotine are Addictive, Increase the Risk for
                 Strokes, and are Unsafe for Anyone under Age 26.
        39.      All leading health authorities support the three major conclusions of a 1988 report

by the Surgeon General of the United States regarding nicotine and tobacco:

        a.       Cigarettes and other forms of tobacco are addictive;

        b.       Nicotine is the drug in tobacco that causes addiction;

        c.       The physiological and behavioral processes that determine tobacco addiction are

similar to those that determine heroin and cocaine addiction.

        40.      Nicotine fosters addiction through the brain’s “reward” pathway. A stimulant and

a relaxant, nicotine affects the central nervous system; increases in blood pressure, pulse, and

metabolic rate; constricts blood vessels of the heart and skin, and causes muscle relaxation. When

nicotine is inhaled it enters the bloodstream through membranes in the mouth and upper respiratory

tract and through the lungs. Once nicotine in the bloodstream reaches the brain, it binds to

receptors, triggering a series of physiologic effects in the user that are perceived as a “buzz” that

includes pleasure, happiness, arousal, and relaxation of stress and anxiety. These effects are caused
by the release of dopamine, acetylcholine, epinephrine, norepinephrine, vasopressin, serotonin,

and beta endorphin. With regular nicotine use, however, these feelings diminish, and the user must

consume increasing amounts of nicotine to achieve the same pleasurable effects.18

        41.      The neurological changes caused by nicotine create addiction. Repeated exposure

to nicotine causes neurons in the brain to adapt to the action of the drug and return brain function

17
 Talih et al., Characteristics and toxicant emissions of JUUL electronic cigarette (Feb 11, 2019) Tob Control. 054616
www.ncbi.nlm.nih.gov/pubmed/30745326/ (as of July 5, 2019).
18
  Neal L. Benowitz, Pharmacology of Nicotine: Addiction, Smoking-Induced Disease, and Therapeutics (Sep 27,
2009) Annu Rev Pharmacol Toxicol 49: 57–71 www.ncbi.nlm.nih.gov/pmc/articles/PMC2946180/ (as of July 5th,
2019).



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to normal. This process, called neuroadaptation, leads to the development of tolerance in which

a given level of nicotine begins to have less of an effect on the user.19

           42.   Once a brain is addicted to nicotine, the absence of nicotine causes compulsive

drug-seeking behavior, which, if not satisfied, results in withdrawal symptoms including anxiety,

tension, depression, irritability, difficulty in concentrating, disorientation, increased eating,

restlessness, headaches, sweating, insomnia, heart palpitations and tremors – and intense cravings

for nicotine. Though smokers commonly report pleasure and reduced anger, tension, depression

and stress after smoking a cigarette, many of these effects are actually due to the relief of

unpleasant withdrawal symptoms that occur when a person stops smoking and deprives the brain

and body of nicotine. Studies have found that most smokers do not like smoking most of the time

but do so to avoid withdrawal symptoms.20

           43.   Nicotine causes permanent brain changes. The effects of nicotine exposure on the

brain of youth and young adults include addiction, priming for use of other addictive substances,

reduced impulse control, deficits in attention and cognition, and mood disorders.21

           44.   Nicotine      is   also     associated      with    cardiovascular,       reproductive,      and

immunosuppressive problems, and is also a carcinogen.22 Nicotine adversely affects the heart,

eyes, reproductive system, lung, and kidneys. It is well-established that nicotine increases blood

pressure. Exposure to nicotine from sources such as nicotine gum still produces an increased risk
of Coronary Vascular Disease by producing acute myocardial ischemia, as well as an increased



19
     Id.
20
   Rigotti, Strategies to help a smoker who is struggling to quit (Oct 17, 2012) JAMA 308 (15): 1573–1580,
www.ncbi.nlm.nih.gov/pmc/articles/PMC4562427/ (as of July 5, 2019); Paolini & De Biasi, Mechanistic insights into
nicotine withdrawal        (Oct.     15,     2011)       Biochem        Pharmacol        82(8):       996–1007,
www.ncbi.nlm.nih.gov/pmc/articles/PMC3312005/ (as of July 5, 2019).
21
   Yuan et al., Nicotine and the adolescent brain (May 27, 2015) The Journal of Physiology 593(Pt 16): 3397–3412,
www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/ (as of July 5, 2019); U.S Surgeon General and the U.S. Centers
for Disease Control and Prevention, Office on Smoking and Health, Know The Risks: E-cigarettes and Young People
(2019) https://e-cigarettes.surgeongeneral.gov/ (as of July 5th, 2019).
22
   Mishra et al., Harmful Effects of Nicotine (2015) Indian J. Med. Paediatr. Oncol., 36(1): 24–31 (Jan- Mar 2015),
www.ncbi.nlm.nih.gov/pmc/articles/PMC4363846/ (as of July 5, 2019).
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4363846/.



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risk of peripheral arterial disorders. Aside from its use as a stimulant, the only other known use

of nicotine is as an insecticide.23

         45.      Several studies have shown that e-cigarettes increase the risk of strokes and heart

attacks.24

         46.      Research has also demonstrated that e-cigarettes significantly increase blood

pressure and arterial stiffness, which increases the risk for strokes and heart attacks.25

         47.     Further, scientists have found that e-cigarettes also cause oxidative stress, which

leads to vascular disease and damage, known risk factors for strokes.26

         48.      With respect to JUUL in particular, a recent study found that “the concentrations of

nicotine and some flavor chemicals (e.g. ethyl maltol) are high enough to be cytotoxic in acute in

vitro assays”.27

         49.      Nicotine affects neurological development in adolescents, and exposure to nicotine

during adolescence produces an increased vulnerability to nicotine addiction.28                          Adolescent


23
   Id.
24
    E-cigarettes linked to higher risk of stroke, heart attack, diseased arteries (Jan 30, 2019) American Stroke
Association News Release, Abstract 9, Session A2, https://newsroom.heart.org/news/e-cigarettes-linked-to-higher-
risk-of-stroke-heart-attack-diseased-arteries (as of July 5, 2019); Vindhyal et al., Impact on cardiovascular outcomes
among e‐cigarette users: a review from National Health Interview Surveys (Mar 2019) Journal of the American
College of Cardiology, Vol. 73, Iss. 9, Suppl. 2, www.onlinejacc.org/content/73/9_Supplement_2/11(as of July 5,
2019); Ndunda & Muutu, Electronic cigarette use is associated with a higher risk of stroke (Jan 30, 2019) International
Stroke Conference 2019 Oral Abstracts. Community/risk factors, Vol. 50, Suppl. 1, Abst. 9,
www.ahajournals.org/doi/10.1161/str.50.suppl_1.9 (as of July 5, 2019); Bhatta & Glantz, Electronic Cigarette Use
and Myocardial Infarction Among Adults in the US Population Assessment of Tobacco and Health (Jun 18, 2019)
Journal of the American Heart Association, Vol. 8, Iss. 12, www.ahajournals.org/doi/10.1161/JAHA.119.012317 (as
of July 5 2019).
25
   Vlachopoulos et al., Electronic cigarette smoking increases aortic stiffness and blood pressure in young smokers
(Sep 10, 2017) J. Am. Col.l Cardiol. 67:2802–2803, www.sciencedaily.com/releases/2017/09/170910232512.htm (as
of July 5, 2019)
26
   Thompson, Vaping May Hurt the Lining of Your Blood Vessels (May 28, 2019) WebMD HealthDay Reporter
www.webmd.com/mental-health/addiction/news/20190528/vaping-may-hurt-the-lining-of-your-blood-vessels#1 (as
of July 5th, 2019). JUUL e-cigarettes and JUUL pods deliver dangerous toxins and carcinogens to users. The
ingredients in JUUL pods include glycerol, propylene glycol, nicotine, benzoic acid, and flavoring chemicals.
www.juul.com/learn/pods (as of July 5, 2019).
27
   Omaiye et al., High-Nicotine Electronic Cigarette Products: Toxicity of JUUL Fluids and Aerosols Correlates
Strongly with Nicotine and Some Flavor Chemical Concentrations (Apr 17, 2019) Chem Res Toxicol 17;32(6):1058-
1069 www.ncbi.nlm.nih.gov/pubmed/30896936 (as of July 5, 2019).
28
   Arain et al., Maturation Of The Adolescent Brain (Apr 25, 2013), Neuropsychiatric Disease and Treatment, 9:449–
461 http://doi.org/10.2147/NDT.S39776 (as of July 5, 2019).



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nicotine addiction causes “substantial neural remodeling” including those parts of the brain

governed by dopamine or acetylcholine, which play central roles in reward functioning and

cognitive function, including executive function mediated by the prefrontal cortex. A “clear-cut

relationship” between adolescent smokers and diminished neural responses has been observed

such that addicts exhibit diminished sensitivity to non-drug rewards (e.g., financial rewards). This

relationship becomes even more severe in adolescents who smoke more than 5 cigarettes a day. In

sum, “the use of extremely rewarding drugs, such as nicotine, may decrease the pleasure obtained

from non-drug rewards.” Id. These changes occur in “early phases of smoking.” Id. Other brain

changes from nicotine include increased sensitivity to other drugs and heightened impulsivity. 29

“Brain imaging on adolescents suggest that those who begin smoking regularly at a young age

have markedly reduced activity in the prefrontal cortex and perform less well on tasks related to

memory and attention compared to people who don’t smoke.”30

        50.      Public health authorities have concluded that e-cigarettes are unsafe for anyone

under age 26.31

        D.       JUUL Designed its E-Cigarettes to Make them Easy for Young People to
                 Inhale and to Deliver Substantially Higher Doses of Nicotine than Cigarettes.
        51.      According to the National Institutes of Health, the “amount and speed of nicotine

delivery . . . plays a critical role in the potential for abuse of tobacco products.”32 The cigarette




29
  University of Warwick, “Different brain areas linked to smoking and drinking” (Jan 8, 2019) ScienceDaily,
www.sciencedaily.com/releases/2019/01/190108095119.htm (as of July 5, 2019).
30
   Brodwin, An e-cigarette with twice the nicotine of comparable devices is taking over high schools - and scientists
are sounding the alarm (Apr 30, 2018) Business Insider, www.businessinsider.com/juul-e-cig-vaping-health-effects-
2018-3 (as of July 5, 2019).
31
   U.S Surgeon General and the U.S. Centers for Disease Control and Prevention, Office on Smoking and Health,
Know The Risks: E-cigarettes and Young People (2019) https://e-cigarettes.surgeongeneral.gov/ (as of July 5th, 2019).
32
   How Tobacco Smoke Causes Disease: The Biology and Behavioral Basis for Smoking-Attributable Disease: A
Report of the Surgeon General, Chapter 4, Nicotine Addiction: Past and Present (2010),
www.ncbi.nlm.nih.gov/books/NBK53017/ (as of July 5th, 2019).



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industry has long known that “nicotine is the addicting agent in cigarettes”33 and that “nicotine

satisfaction is the dominant desire” of nicotine addicts.34

        52.      For this reason, cigarette companies spent decades manipulating nicotine in order

to foster and maintain addiction in their customers. For example, R.J. Reynolds Tobacco Company

(“RJR”) developed and patented nicotine salt additives such as nicotine benzoate to increase

nicotine delivery in cigarette smoke. As detailed in an RJR memorandum titled “Cigarette concept

to assure RJR a larger segment of the youth market,” manipulating the pH of nicotine was expected

to give cigarettes an “additional nicotine ‘kick’.”35 This kick was attributed to increased nicotine

absorption associated with lower pH.36

        53.      JUUL knowingly used the RJR research and conclusions to produce a similar

nicotine kick, and thereby promoting increased use and sales of JUUL e-cigarettes. In U.S. patent

No. 9,215,895 (“the ‘895 patent”), assigned to “Pax Labs, Inc.” and listing JUUL executive Adam

Bowen as an inventor, JUUL describes a process for combining benzoic acids with nicotine to

produce nicotine salts, a formulation that mimics the nicotine salt additive developed by RJR

decades earlier.

        54.      In a 2015 interview, Ari Atkins, a JUUL research & development engineer and one

of the inventors of the JUUL device said this about the role of acids: “In the tobacco plant, there

are these organic acids that naturally occur. And they help stabilize the nicotine in such a way that
makes it …”        He pauses. “I’ve got to choose the words carefully here:                   Appropriate for

inhalation.”37



33
    Brown & Williamson official A.J. Mellman, (1983) Tobacco Industry Quotes on Nicotine Addiction,
www.ok.gov/okswat/documents/Tobacco%20Industry%20Quotes %20on%20Nicotine%20Addiction.pdf (as of July 5,
2019).
34
   Id., R.J. Reynolds Tobacco Co. marketing memo, 1972.
35
   Id., 1973 R.J. Reynolds Tobacco Co. memo titled, “Cigarette concept to assure RJR a larger segment of the youth
market.”
36
   Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, Nicotine Psychopharmacology (Oct.
13, 2010), Handb Exp Pharmacol 192:29–60, www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/ (as of July 5, 2019).
37
   Pierce, This Might Just Be The First Great E-Cig (Apr 21, 2015) WIRED, www.wired.com/2015/04/pax-juul-ecig/
(as of July 5, 2019).



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        55.      JUUL’s manipulation of nicotine pH directly affects the palatability of nicotine

inhalation by reducing the “throat hit” users experience when vaping. Benzoic acid reduces the pH

of solutions of nicotine, an alkali with a pH of 8.0 in its unadulterated, freebase form. This

reduction in pH converts naturally-occurring unprotonated nicotine, which causes irritation in the

throat and respiratory tract, to protonated nicotine, which is not be absorbed in the throat or upper

respiratory tract and, therefore, does not irritate the throat. A recent study found that JUUL’s e-

liquid had a pH of under 6.0, suggesting that the JUUL contains almost no freebase (i.e., non-salt

form) nicotine.38

        56.      The vapor from JUUL’s e-liquid contains about the same ratio of free-base

nicotine—and hence causes the same amount of irritation—as a nearly nicotine-free 3 mg/mL e-

liquid.39

        57.      The same chart further shows that the Duell Study authors found that the low

freebase fraction in its aerosols suggested a “decrease in the perceived harshness of the aerosol to

the user and thus a greater abuse liability.” Id. at 431-434.

        58.      The authors noted that “tobacco company documents suggest that products [like

JUUL] with high nicotine levels but a low [percentage of freebase nicotine] will yield vape

aerosols of much reduced harshness as compared to products with even only moderate nicotine

levels” but high percentages of freebase nicotine. Id.
        59.      JUUL’s creation of a product with low levels of harshness and minimal throat “hit”

is consistent with the goal of producing a product for young non-smokers. The non-irritating vapor

product is easier for non-smokers to consume without negative side effects like coughing or

irritation. The design also shows that JUUL’s intention was to recruit nonsmokers, not existing

smoker, because smokers are already tolerant of the throat hit and have even been habituated into

38
    Lauterbach, One More Time Unprotonated Nicotine in E-Cigarette Aerosols: Is It Really There? (2018)
www.coresta.org/sites/default/files/abstracts/2018_TSRC83_Lauterbach.pdf (as of July 5, 2019); Other studies have
confirmed the low ratio of freebase nicotine in JUUL products. See Duell et al., Free-Base Nicotine Determination in
Electronic Cigarette Liquids by 1H NMR Spectroscopy (Jun 18, 2018) 31 Chem. Res. Toxicol. 431-434,
www.ncbi.nlm.nih.gov/pmc/articles/PMC6008736/ (as of July 5th, 2019).
39
   Id., Duell Study, Fig. 3.



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associating the “throat hit” with getting their nicotine fix. Minimizing the throat “hit” of JUUL e-

cigarettes is therefore unnecessary to providing an alternative for adult smokers, but is crucial to

luring a new generation of users.

           60.      The Duell study concluded that JUUL’s use of nicotine salts “may well contribute

to the current use prevalence of JUUL products among youth.” 40

           61.      JUUL’s lack of throat hit increases the risk of using the product, because it masks

the amount of nicotine being delivered, by eliminating the throat sensory feedback normally

associated with a large dose of nicotine. The “throat hit” is part of the body’s alert system, letting

a person know he is inhaling something harmful. Eventually, the irritation to the throat will cause

even the most compulsive addict to wait before the next inhalation. Reducing or removing this

feedback impairs the user’s ability to ascertain that he is consuming a toxin. As a result, the

cravings for nicotine can be satisfied nonstop, fostering addiction or aggravating an existing

addiction, and repeatedly exposing the user to the health risks associated with the product, such as

significantly increased blood pressure.

           62.      JUUL sells products that contain relatively low amounts of throat-irritating freebase

nicotine, yet contain and deliver far higher concentrations of nicotine than cigarettes or other

electronic nicotine delivery systems (“ENDS”) containing freebase nicotine.

           63.      Blood plasma studies in the ‘895 patent41 show that vaping nicotine benzoate
increases nicotine delivery compared to cigarettes or vaporized solutions of freebase nicotine. In

fact, nicotine uptake was up to four times higher for nicotine salt formulations than traditional

cigarettes (approximately 4 ng/mL/min compared to approximately 1 ng/mL/min). JUUL’s data

also indicates that nicotine salt solutions produce a higher heart rate in a shorter amount of time (a

50 beats/minute increase within 2 minutes for nicotine salt, versus a 40 beats/minute increase in



40
  Id., Duell Study (citing Willett, et al., Recognition, use and perceptions of JUUL among youth and young adults,
Tobacco, Tob Control. 2019 Jan;28(1):115-116.)

41
     See U.S. Patent No. 9, 215, 895.



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2.5 minutes for a Pall Mall cigarette). Nicotine salts also cause a faster and more significant rise

in heart rate than placebo or vaporized freebase nicotine.

            64.       JUUL’s ‘895 patent shows that a 4% solution of benzoic acid nicotine salt causes a

peak nicotine-blood concentration (“Cmax”) of approximately 15 ng/mL, compared to a Cmax of

11 ng/mL for a Pall Mall cigarette.42

            65.       As high as the reported nicotine dose reported for JUUL pods is, the actual dose is

likely higher. Though the strongest benzoic acid concentration mentioned in the ‘895 patent is 4%

(i.e., 40 mg/mL of benzoic acid), one study tested four flavors of JUUL pods and found a 4.5%

benzoic acid (44.8 ± 0.6) solution.43 That study found that JUUL pods contained a concentration

of 6.2% nicotine salt (about 60 mg/mL), rather than the 5% nicotine (about 50 mg/mL) advertised.

JUUL pods containing an absolute nicotine concentration 1.2% higher than the stated 5% on the

label (a relative increase of over 20%) coupled with more benzoic acid than listed in the ‘895

patent produce higher nicotine absorption than expected for the advertised formulation.

            66.       Other studies have reported even higher actual concentrations of nicotine in JUUL

pods.       Some experts estimate that JUUL pods contain the same nicotine as two packs of

cigarettes.44

            67.       In any event, JUUL is delivering doses of nicotine that are materially higher than

delivered by combustible cigarettes. As a paper published by the European Union citing the United
Kingdom Medicines and Healthcare Products Regulatory Agency notes, “an e-cigarette with a

concentration of 20 mg/ml delivers approximately 1 milligram of nicotine in 5 minutes (the time

needed to smoke a traditional cigarette, for which the maximum allowable delivery is 1 mg of

nicotine).”45 With at least 59 mg/mL of nicotine delivered in a salt form that increases the rate and


42
     ’895 Patent, at col. 26, ll. 33-50.
43
  Pankow et al., Benzene formation in electronic cigarettes (Mar 8, 2017) PLoS One. 2017; 12(3): e0173055
www.ncbi.nlm.nih.gov/pmc/articles/PMC5342216/ (as of July 5, 2019).
44
   6 important facts about JUUL, Truth Initiative, https://truthinitiative.org/research-resources/emerging-tobacco-
products/6-important-facts-about-juul (as of July 5, 2019)
45
   “E-Cigarettes” https://ec.europa.eu/health//sites/health/files/tobacco/docs/fs_ecigarettes_en.pdf (as of July 5,
2019) (citing United Kingdom Medicines and Healthcare Products Regulatory Agency and industry reports).



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efficiency of uptake (and even with a lower mg/mL amount), a JUUL pod will easily exceed the

nicotine dose of a traditional cigarette. Not surprisingly, the European Union has banned all e-

cigarette products with a nicotine concentration of more than 20 mg/ml nicotine, and Israel is

seeking to do the same. 46 As Israel’s Deputy Health Minister has noted, “a product that contains

a concentration of nicotine that is almost three times the level permitted in the European Union

constitutes a danger to public health and justifies immediate and authoritative steps to prevent it

from entering the Israeli market.”47

        68.      Comparison of available data regarding per puff nicotine intake corroborates the

other JUUL studies (mentioned above), indicating that JUUL delivers about 30% more nicotine

per puff. Specifically, a recent study of JUUL pods found that “[t]he nicotine levels delivered by

the JUUL are similar to or even higher than those delivered by cigarettes.”48 The Reilly study

tested JUUL’s Tobacco, Crème Brulee, Fruit Punch, and Mint flavors and found that a puff of

JUUL delivered 164 ± 41 micrograms of nicotine per puff. By comparison, a 2014 study using

larger 100 mL puffs found that a Marlboro cigarette delivered 152—193 μg/puff.49 Correcting to

account for the different puff sizes between the Reilly and Schroeder studies, this suggests that, at

75ml/puff, a Marlboro would deliver between 114 and 144 μg/puff. In other words, empirical data

suggests that JUUL delivers up to 36% more nicotine per puff than a Marlboro.

        69.      Because “nicotine yield is strongly correlated with tobacco consumption,”50 a
JUUL pod with more nicotine will strongly correlate with higher rates of consumption of JUUL



46
    Belluz, Juul, the Vape Device Teens are Getting Hooked On, Explained (Dec 20, 2018) Vox
https://www.vox.com/science-and-health/2018/5/1/17286638/juul-vaping-e-cigarette (as of July 5, 2019).
47
   Linder-Ganz, JUUL Warns It Will Fight Israel Over Its Potential Ban on E-Cigarettes (Jan 30, 2018), HAARETZ,
www.haaretz.com/israel-news/business/juul-warns-it-will-fight-israel-over-potential-ban-on-its-e-cigarettes-
1.6140058 (as of July 5, 2019).
48
   Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL Electronic Cigarettes (Oct 20, 2018)
Nicotine Tob Res. 3 (the “Reilly study") https://www.ncbi.nlm.nih.gov/pubmed/30346584 (as of July 5, 2019).
49
  Schroeder & Hoffman, Electronic Cigarettes and Nicotine Clinical Pharmacology (May 2014) Tobacco Control
2014: 23:ii30-ii35, www.ncbi.nlm.nih.gov/pmc/articles/PMC3995273/ (as of July 5, 2019).
50
  Jarvis et al., Nicotine Yield From Machine Smoked Cigarettes and Nicotine Intakes in Smokers: Evidence From a
Representative      Population     Survey    (Jan    2001),     JNCI      Vol.   93,     Issue   2,    134–138
https://academic.oup.com/jnci/article/93/2/134/2906355 (as of July 6, 2019)



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pods, generating more revenue for JUUL. For example, a historic cigarette industry study looking

at smoker employees found that “the number of cigarettes the employees smoked per day was

directly correlated to the nicotine levels.”51 In other words, the more nicotine in the cigarettes, the

more cigarettes a person smoked.

          70.     Despite the above data, Defendants have failed to disclose to consumers that the

JUUL pods’ nicotine salt formulation delivers an exceptionally potent dose of nicotine.

          71.     By delivering such potent doses of nicotine, JUUL products magnify the health

risks posed by nicotine, significantly increase blood pressure, and place users at heightened risk

for stroke, heart attacks and other cardiovascular events.

          72.     Further, because JUUL’s nicotine salts actually increase the rate and magnitude of

blood plasma nicotine compared to traditional cigarettes, the risk of nicotine addiction and abuse

is higher for JUUL e-cigarettes than traditional cigarettes. Thus, JUUL pods are foreseeably

exceptionally addictive when used by persons without prior exposure to nicotine—a fact not

disclosed by Defendant.

          73.     At the same time, as discussed above, the throat “hit” from nicotine salts is much

lower than that for combustible tobacco products, making it easier to inhale. According to

researchers, the “high total nicotine level (addictive delivery)” of a JUUL coupled with its easily

inhalable nicotine vapor is “likely to be particularly problematic for public health.”52
          74.     This powerful combination—highly addictive and easy to inhale—also repeatedly

exposes users to the toxic chemicals in the vapor, compounding the health risks to users, as

described above.

          75.     In addition to its nicotine content, the “Cool” Mint pods pose additional risks. The

FDA’s Tobacco Products Scientific Advisory Committee in March 2011 issued a report on

menthol cigarettes, concluding that the minty additive was not just a flavoring agent but had drug-

like effects, including “cooling and anesthetic effects that reduce the harshness of cigarette

51
     UCSF Library, 1003285443-5443 (US 85421).
52
     Duell Study, 431



                                         20
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smoke.”53 Mint could also “facilitate deeper and more prolonged inhalation,” resulting in “greater

smoke intake per cigarette.” Id. at 500-501.

        76.      JUUL has fraudulently concealed material information about the addictive and

dangerous nature of its e-cigarettes. Defendant necessarily is in possession of all of this

information.

        E.       JUUL’s Design Offers No Benefit for Young People, Only Risk.
        77.      JUUL’s design offers no benefit to young people like Mr. Lingnofski, who was not

addicted to cigarettes before he started using JUUL.

        F.       JUUL Conspired with Others in the Cigarette Industry to Engage Third-Party
                 Spokespersons to Downplay the Risks of E-cigarettes, Create Doubt, and
                 Misrepresent the Benefits of Nicotine.
        78.      Because JUUL understood that it could not specifically make health-related claims

without drawing the ire of the FDA, JUUL conspired with others in the cigarette industry to engage

consultants, academics, reporters, and other friendly sources such as the American Enterprise

Institute, to serve as spokespersons and cheerleaders for e-cigarette products. Taking yet another

page from the cigarette-industry playbook, these influencers masked their connection to the e-

cigarette industry, while serving as its mouthpiece to cast doubt about risks and overstate benefits.

        79.      For example, just as JUUL launched, cigarette company expert witness Sally Satel

published an article in Forbes Magazine touting the benefits of nicotine—claiming it aids in
concentration—and stating that it is harmless.54 In another article, she lauded efforts by JUUL and

others to develop nicotine-related products, and cast any doubters as hysterical and creating a

“panic”.55




53
   Proctor, Golden Holocaust: Origins of the Cigarette Catastrophe and the Case for Abolition, 500 (1st ed. 2011).
54
       Satel,    Nicotine     Itself     Isn't    The      Real     Villain     (Jun     19,      2015),      Forbes,
www.forbes.com/sites/sallysatel/2015/06/19/nicotine-can-save-lives/#60379f766f43 (as of July 5, 2019).
55
    Satel, Why The Panic Over JUUL And Teen Vaping May Have Deadly Results (Apr 11, 2018), Forbes,
www.forbes.com/sites/sallysatel/2018/04/11/why-the-panic-over-juul-and-teen-vaping-may-have-deadly-
results/#6b1ec693ea48 (as of July 5, 2019).



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          80.   Numerous other articles, videos, and podcasts—also spread through social media—

echoed this same message that the public health community was overreacting to e-cigarettes and

in a panic about nothing.

          81.   During each of its multiple fundraising rounds, JUUL assured potential investors

that “addiction to something that is not harmful”, suggesting that JUUL was no more harmful than

coffee.

          82.   On information and belief, JUUL and its co-conspirators spread this message

through hired third-party spokespersons and influencers.

          83.   Furthering their campaign of doubt and confusion, when asked directly about health

risks, JUUL’s employees and founders would point reporters to other sources to indicate that its

products had been shown to be safe, or not harmful, rather than admit what it knew were the

dangers.

          84.   JUUL well-understood from the cigarette industry playbook that sowing doubt and

confusion over the benefits and risks of e-cigarettes is key to long-term success. First, by creating

a “two-sides-to-every-story” narrative, JUUL reduced the barriers for young people and new users

to try the product and gave addicted users permission to keep using the product and avoid the pain

of withdrawal. Second, by engaging people who looked like independent experts, JUUL staved

off regulation and suppressed political opposition, allowing it a long runway to capture market
share. Third, by belittling the public health community, JUUL neutered its most vocal threat.

          85.   On information and belief, JUUL conspired with others in the cigarette industry to

fraudulently conceal the risks of e-cigarettes, recognizing that a campaign of doubt,

misinformation and confusion would benefit all of them and would be the key to the industry’s

survival.

          G.    JUUL Intentionally Misrepresents and Grossly Understates the Amount of
                Nicotine in each JUULpod.
          86.   From JUUL’s pre-release announcements to this day, JUUL, along with Defendants
that provided marketing services to JUUL, has continuously falsely represented that each pod




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contains only as much nicotine as a pack of cigarettes. JUUL repeats these claims widely in

advertisements, press releases, on its packaging, and on its web site. For example, some JUUL

advertisements and JUUL’s website currently provides that each “JUULpod is designed to contain

approximately 0.7mL with 5% nicotine by weight at time of manufacture which is approximately

equivalent to 1 pack of cigarettes or 200 puffs.” This statement is false and seriously misleading

because, as JUUL knows, it is not just the amount of nicotine, but the efficiency with which the

product delivers nicotine into the bloodstream, that determines the product’s narcotic effect, risk

of addiction, and other health risks.

        87.      Defendant knows that benzoic acid affects pH and “absorption of nicotine across

biological membranes.”56

        88.      Assuming a concentration of 59 mg/mL, JUUL’s reported nicotine content

corresponds to about 40 mg of nicotine per 0.7 mL JUULpod. If, as JUUL claims, this is equivalent

to one pack of cigarette (or 20 cigarettes), that implies 2 mg of nicotine per cigarette.

        89.      JUUL’s equivalency claim further assumes 10 puffs per cigarette (i.e., 200 puff per

pack), or 0.2 mg (200 μg) of nicotine per puff.

        90.      Typically, a cigarette that delivers around one milligram of nicotine in smoke

retains “about 14-20 milligrams of nicotine in the unsmoked rod,” USA v. Philip Morris, p. 567,

for an overall delivery of 5-7% of the cigarette’s actual nicotine content. A study by the Center
for Disease Control found that in “commercial cigarette brands, nicotine concentrations ranged

from 16.2 to 26.3 mg nicotine/g tobacco (mean 19.2 mg/g; median 19.4 mg/g).”57 Assuming an

average of 19 milligrams of nicotine per cigarette, an average pack of cigarettes contains 380

milligrams of nicotine, or six times as much nicotine as the 62 milligrams reported for each JUUL

pod. Yet the average pack would be expected to deliver only 5-7% (19-27 mg) of its nicotine

content to the user. In line with this expectation, a study of thousands of smokers found smokers

56
  Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, Nicotine Psychopharmacology (Oct
12, 2010), Handb Exp Pharmacol 192: 29–60 www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/ (as of July 5, 2019).
57
  Lawler et al., Surveillance of Nicotine and pH in Cigarette and Cigar Filler(Apr 1, 2018), Tob Regul Sci. 3(Suppl
1): 101–116, www.ncbi.nlm.nih.gov/pmc/articles/PMC5628511/ (as of July 5 2019).



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intaking between 1.07 to 1.39 milligrams per cigarette (21.4-27.8 mg per pack).58 This is less than

half of the amount of nicotine contained in a JUUL pod (i.e., 2 mg per “cigarette” based on JUUL’s

stated concentration, or 200 μg per puff assuming 100% delivery). Even with the slightly lower

efficiency of delivery demonstrated in studies like Reilly (about 82%, for averages of 164 μg per

puff), this amounts to a substantially higher amount of nicotine that a human will absorb from a

JUUL pod than from smoking a pack of cigarettes.

        91.      JUUL’s statement in its advertisements that each JUUL pod contains about as much

nicotine as a pack of cigarettes is therefore literally false and likely to mislead, because the amount

of nicotine contained in the JUUL pod is perhaps six times less than in a pack of cigarettes, but the

actual amount of nicotine consumed via JUUL pod is as much as twice as high as that via

cigarettes. This fact is never mentioned by JUUL nor Defendants.

        92.      Further, while a pack of cigarettes contains 20 cigarettes which each have to be

separately lit, the JUUL can be inhaled continuously, and often can be used indoors without

detection by others, a feature that JUUL promoted heavily in its advertisements, eliminating the

need for smoking breaks. Thus, the device design leads users to intake far more nicotine than

would occur with cigarettes.

        93.      Finally, the JUUL device does not have a manual or automatic “off” switch. On

information and belief, neither the JUUL pod nor the programming of the JUUL device’s
temperature or puff duration settings limit the amount of nicotine JUUL delivers each puff to the

upper bound of a cigarette. Thus, in contrast to a traditional cigarette, which self-extinguishes as

each cigarette is consumed, the JUUL allows non-stop nicotine consumption, which is limited only

by the device’s battery. As a result, the JUUL is able to facilitate consumption of extraordinarily

high levels of nicotine that a cigarette cannot match. This makes it easier for the user to become

addicted to nicotine and poses additional health risks.


58
  Jarvis et al., Nicotine Yield From Machine-Smoked Cigarettes and Nicotine Intakes in Smokers: Evidence From a
Representative       Population     Survey    (Jan    17,      2001),     JNCI,      Vol.    93,     2:134–138,
www.ncbi.nlm.nih.gov/pubmed/11208883 (as of July 5 2019).



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       94.     Contrary to Defendant’s representations, the above data indicate that each JUUL

pod delivers significantly more nicotine than a pack of cigarettes, both per pack and per puff.

JUUL’s products thus have the foreseeable effect of luring youth, who react positively to a strong

nicotine “kick,” and exacerbating nicotine addiction and adverse health effects associated with

nicotine consumption.

       95.     Thus, JUUL is more harmful when compared to cigarettes, in that the

extraordinarily high levels of nicotine can cause heightened blood pressure and stroke, and the

repetitive exposure to the toxins and chemical in JUUL can also cause vascular damage and stroke.

       H.       Defendants Never Warned Mr. Lingnofski that JUUL’s Products Were
                Unsafe, Addictive, and Dangerous.
       96.     At no time before Mr. Lingnofski became severely addicted, did JUUL, nor any of

the other Defendants involved in the research, development, marketing and distribution of JUUL

products provide any warnings about the risks of addiction, stroke, or other brain damage.

       97.     At no time before Mr. Lingnofski became severely addicted did JUUL or any other

Defendants warn Plaintiff that JUUL products were unsafe for him and anyone under age 26, nor

instruct him on how much JUUL would be safe to consume.

       98.     Despite making numerous revisions to its packaging since 2015, JUUL did not add

nicotine warnings until forced to do so in August of 2018, far too late for Mr. Lingnofski. Neither

did any of the Defendants involved in the research, development, marketing of JUUL products and
e-cigarettes provide any warnings. The original JUUL product labels had a California Proposition

65 warning indicating that the product contains a substance known to cause cancer, and a warning

to keep JUUL pods away from children and pets, but contained no warnings specifically about the

known effects, or possible long-term effects, of nicotine or vaping/inhaling nicotine salts. Many

of JUUL’s advertisements, particularly before January 2017, also lacked a nicotine warning.

       99.     Furthermore, JUUL misrepresents the nicotine content of JUUL pods by

representing it as 5% strength. As discussed above, JUUL pods contain more than 5% nicotine by
volume and deliver it in a form that is particularly potent.




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       100.    Instead, JUUL marketed its JUUL products as an “alternative to cigarettes,” thereby

giving the false impression that they are not harmful like traditional cigarettes and safe to use.

       101.    Mr. Lingnofski did not and could have known the risks associated with JUUL,

because Defendant had exclusive knowledge about its product, including its design, and concealed

that information from him.

       102.    Instead, as a result of JUUL’s wildly successful marketing campaign, based on

tactics developed by the cigarette industry and amplified in social media, Mr. Lingnofski

reasonably believed that JUUL was safe, harmless, fun, and cool—a thing to do with friends.

       103.    A 2017 study by the Truth Initiative Schroeder Institute® found that 6 percent of

youth and 10 percent of young adults have used a JUUL e-cigarette in the last 30 days. The study

also found that while many young people are aware of JUUL, many are unaware that the product

always contains the addictive chemical nicotine.

       a.      Twenty-five percent of survey respondents aged 15 to 24 recognized a JUUL e-

cigarette device when shown a photo of the product.

       b.      Among those who recognized JUUL, 25 percent reported that use of this product is

called “JUULing,” indicating that this product is so distinctive, it is perceived as its own category.

       c.      Sixty-three percent of JUUL users did not know that this product always contains

nicotine.

       I.       Despite knowledge that its products were unsafe for anyone under age 26,
                JUUL Deployed a Deceptive and Unfair Viral Marketing Campaign to Entice
                Young People to Start JUULing
       104.    As described further below, Defendant has used the same strategies perfected by

the cigarette industry to sell JUUL products to young people. In particular, JUUL has both

exploited regulatory loopholes and relied heavily on social media and other viral advertising tools

to hook people, and in particular young persons, on its addictive e-cigarettes.

       105.    To accomplish this, JUUL adopted the same themes used by Philip Morris and other

cigarette companies in the industry’s long-standing, extensive advertising campaign to glamorize
cigarette smoking while downplaying its addictiveness and deleterious health effects.



                                      26
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        106.     These entities provided the strategies, analyses, and services to JUUL enabling and

in furtherance of JUUL’s deceptive and unfair marketing tactics.

        1.       Overview of Viral Marketing Campaigns and Online Marketing
        107.     “Viral marketing” is defined as “marketing techniques that seek to exploit

preexisting social networks to produce exponential increases in brand awareness, through

processes similar to the spread of an epidemic.”59 Viral marketing is a form of word-of-mouth

recommendation that harnesses the network effect of the internet to rapidly reach a large number

of people. Because the goal in a viral marketing campaign is to turn customers into salespeople

who repeat a company’s representations on its behalf, a successful viral marketing campaign may

look like millions of disconnected, grassroots communications, when in fact they are the result of

carefully orchestrated corporate advertising campaign.

        108.     Companies may use different media to transmit their viral messaging, but generally,

all viral marketing campaigns tend to share similar features, including (1) a simple message—

typically implied by an image—that elicits an emotional response; (2) the strategic use of

marketing platforms, especially social media, to reach and engage the target audience; (3) use of

content that invites participation and engagement; and (4) use of third parties to magnify the impact

of a message.

        109.     Typically, a viral marketing campaign will begin with a “push” by the company
seeking to advertise the product, and since the advent of social media, that push is typically done

through the creation of new content on a social media platform, such as Instagram, YouTube,

Twitter, Facebook or other similar platform (“Social Medial Platforms”).60 A company that wants

to push an ad on Social Media Platforms has a few options. First, the company can solicit followers

to its social media pages, so that when the company posts to its feed, the content would be delivered


59
   Larson, The Rise of Viral Marketing through the New Media of Social Media (2009), Liberty University Pub.,
https://digitalcommons.liberty.edu/ cgi/viewcontent.cgi?article=1009&context=busi_fac_pubs (as of July 5, 2019).
60
  Skrob, The viral marketing concept as a model for open source software to reach the critical mass for global brand
awareness based on the example of TYPO3 (Aug 2005), University of Applied Science Kufstein, Austria,
http://citeseerx.ist.psu.edu/viewdoc/ download?doi=10.1.1.494.8779&rep=rep1&type=pdf (as of July 5, 2019).



                                        27
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to those followers and to those who visited the company page. Second, the company can purchase

paid advertisements that were delivered to specified target audiences. Then, to amplify a message,

companies can utilize other tools, such as paid influencers and strategic use of promotions and

hashtags, to blanket the targeted demographic with advertisements across social media.

110.   Companies seeking to advertise new products or reach a new demographic have discovered

the power of the “like” and “share” features on social media, which allow users to promote content

to their own audiences. As Mark Zuckerberg, founder and Chief Executive




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Officer of Facebook explained: “Nothing influences people more than a recommendation from a

trusted friend…A trusted referral is the Holy Grail of advertising.”61

        111.     With the advent of social media, viral marketing campaigns have become a

particularly effective way to reach young people, particularly teenagers. Teenagers tend to use

social media far more than adults and tend to be more susceptible to peer pressure. Ninety-five

percent of teens report having use of a smart phone.62 Forty-five percent report being online

“constantly.” Id. Eighty-five percent use YouTube. Id. Seventy-two percent use Instagram, and

sixty-nine percent use Snapchat. Id. Adolescents also have a far stronger herding instinct than

adults. The desire to fit in and look cool means that adolescents drive new trends online. As many

businesses know, young people are often skeptical of traditional advertising and the tactics of large

corporations. Thus, by pushing a viral marketing campaign, these businesses can reach consumers

who might ignore typical advertising and are more likely to respond to an advertisement that does

not look or feel like an advertisement, but instead is a message shared by a friend, a peer, or some

other person influential to the viewer.

        112.     Companies can also take viral messaging off-line. By running simple, catchy ads

with minimal text and graphic visuals, and displaying those ads in various forms, companies

generate buzz and discussion, which is reinforced through social media.

            2.   The Cigarette Industry Has Long Relied on Youth-Focused Viral Marketing
                 and Flavors To Hook New Underage Users On Its Products.
        113.     To remain profitable, the tobacco industry must continue to woo new customers:

some existing customers wean themselves from addiction and the others eventually die, so

replacement customers are needed. In recent years, tobacco usage in the United States has fallen

dramatically, with particularly large decreases in the youth smoking rates, which cigarette


61
   https://www.ft.com/content/01341240-8cbd-11dc-b887-0000779fd2ac (last accessed Dec. 13, 2018). See also
Perkins v. LinkedIn Corp. (N.D. Cal. 2014) 53 F.Supp.3d 1190, 1210 (“One of the principal reasons such viral
marketing is superior to other forms of marketing is the source: viral marketing comes from a friend or contact with
whom the recipient is familiar and trusts as opposed to an unfamiliar or untrusted source.”).
62
  Anderson & Jiang, Teens, Social Media & Technology 2018 (May 31 2018), Pew Research Center,
www.pewinternet.org/2018/05/31/teens-social-media-technology-2018/ (as of July 5, 2019).



                                        29
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companies have been vigorously trying to counteract. The cigarette industry knows that the

younger a person starts smoking, the longer they will have a customer. Historically, cigarette

companies fought to increase share penetration among the 14-24 age group because “young

smokers have been the critical factor in the growth” of tobacco companies, and “the 14-18 year

old group is an increasing segment of the smoking population.”63 The importance of the youth

market was illustrated in a 1974 presentation by RJR’s Vice-President of Marketing who explained

that the “young adult market . . . represent[s] tomorrow’s cigarette business. As this 14-24 age

group matures, they will account for a key share of the total cigarette volume - for at least the next

25 years.”64

       114.    It is well-established that “marketing is a substantial contributing factor to youth

smoking initiation.” USA v. Philip Morris, 449 F. Supp. 2d 1, 570 (D.D.C. 2006).

       115.    Because teenagers are at a stage in their psychosocial development when they are

struggling to define their own identities, they are particularly vulnerable to image-heavy

advertisements providing cues for the “right” way to look and behave amongst peers. Id. at 578.

Advertisements that map onto adolescent aspirations and vulnerabilities drive adolescent tobacco

product initiation. Id. at 570, 590. By making smoking a signifier of a passage into adulthood,

tobacco companies turned smoking into a way for teenagers to enhance their image in the eyes of

their peers. Id. at 1072
       116.    The landmark USA v. Philip Morris case revealed that tobacco companies targeted

adolescents for decades by: “(1) employ[ing] the concept of peers in order to market to teenagers;

(2) us[ing] images and themes in their marketing that appeal to teenagers; and (3) employ[ing]

advertising and promotion strategies to knowingly reach teenagers.” No. 99-cv-2396, ECF 5732,

2682 (D.D.C. 2008). In terms of images and themes that cater to adolescents, the court found

“overwhelming” evidence that tobacco companies intentionally exploited adolescents’

63
     Memo to: C.A. Tucker from: J.F. Hind Re: "Meet the Turk" (January 23, 1978)
http://legacy.library.ucsf.edu/tid/lve76b00 (last visited June 5, 2018).
64
    Mr. C.A. Tucker Presentation to RJRI BOfD - 9/30/74 (740930), “Marketing Plan” (1974),
www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091 (as of July 5, 2019)



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vulnerability to imagery by creating advertising emphasizing themes of “independence,

adventurousness, sophistication, glamour, athleticism, social inclusion, sexual attractiveness,

thinness, popularity, rebelliousness, and being ‘cool.’” Id. at ¶ 2674.

        117.     Thus, the industry has long used viral marketing campaigns to push its products on

children, teens, and young adults. Prior to the advent of the Internet, cigarette companies engaged

in “viral advertising” or “influential seeding” by paying “cool people” to smoke in select bars and

clubs, with the “idea being that people will copy this fashion, which would then spread as if by

infection.”65 By simply paying some attractive, stylish third parties to use the product in trendy

public places, tobacco companies were able to create buzz and intrigue. As word spread, the public

would develop a strong association that smoking was what young, cool adults were doing.

        118.     Today, cigarette manufacturers like Altria are limited in their ability to advertise in

the United States, but actively use viral marketing techniques outside of the United States. For

example, Japan Tobacco International, one of JUUL’s early investors, launched social media

campaigns including a “Freedom Music Festival” promoting Winston cigarettes in Kazakhstan

Kyrgyzstan, and Jordan. Similarly, Phillip Morris International, a wholly-owned subsidiary of

Altria, JUUL’s largest stakeholder, has used influencer campaigns in multiple countries. A

campaign in Indonesia called “I Decide To” has been viewed more than 47 million times online.

A hashtag marketing campaign called #NightHunters in Uruguay used paid influencers to pose
with menthol cigarettes and was seen by nearly ten percent of Uruguay’s population.66

        119.     An influencer paid to promote Philip Morris brands stated that Philip Morris targets

a “super young profile” for its influencers . . . . the people they selected are always the youngest.

They look for young people that have large groups of friends so [the social media promotional

message] gets expanded more and more.” Id. Another influencer allegedly stated that “we had a


65
  Golden Holocaust, 119 (citing Ted Bates and Co., Copy of a Study of Cigarette Advertising Made by J.W. Burgard;
1953, (Lorillard), n.d., Bates 04238374-8433.
66
  New Investigation Exposes How Tobacco Companies Market Cigarettes on Social Media in the U.S. and Around
the World (Aug 27, 2019) Campaign For Tobacco-Free Kids www.tobaccofreekids.org/press-
releases/2018_08_27_ftc (as of July 5, 2019).



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training session with the person of charge of marketing in Marlboro, she talked to us about how

difficult it was for them to advertise due to all the laws in place. She also talked to us about . . .

[linking] the brand to certain colors or situations.” Id. (brackets in original).

         120.   A study carried out by the campaign for tobacco-free kids, reported that “tobacco

companies are secretly paying social media stars to flood your newsfeed with images of their

cigarette brands.” Id. In a nutshell, “young social media stars are paid to make smoking look

cool.”          Id.           A      gallery      of     influencer       posts      is     available      at:

https://www.takeapart.org/wheretheressmoke/gallery/.

         121.   Similarly, in 1988 the R.J. Reynolds Tobacco Company introduced the infamous

Joe Camel cartoon campaign, which faced instant criticism due to how appealing the cartoon

animal was to children and teens. Joe Camel was drawn as sleek, metropolitan figure, typically

wearing sunglasses or a tuxedo, or was depicted driving convertibles, gambling, or playing pool.

The ads often used the phrase “Smooth Character,” which to teenagers, meant he had a slick, cool

personality. That in turn led to an association between smoking and coolness in the minds of young

people. To ensure that message stuck, R.J. Reynolds put up billboards featuring Joe Camel near

schools, and printed Joe Camel shirts, hats, and other paraphernalia, ensuring the campaign would

be carried far and wide, and that kids would constantly be exposed to it. Only three years after the

campaign began, in 1991, the Journal of the American Medical Association published a study
showing that by age six nearly as many children could correctly respond that “Joe Camel” was

associated with cigarettes as could respond that the Disney Channel logo was associated with

Mickey Mouse, and it alleged that the “Joe Camel” campaign was targeting children, despite R. J.

Reynolds’ claim (similar to the claim of Defendants here) that the campaign was directed only to

adults who were already smokers of other brands.67 At that time researchers estimated that 32.8%

of all cigarettes sold illegally to underage buyers were Camels.68 The Joe Camel campaign ended

67
 Fischer et al., Brand Logo Recognition by Children Aged 3 to 6 Years (Dec 11, 1991), JAMA 266(22):3145-8,
www.ncbi.nlm.nih.gov/pubmed/1956101 (as of July 5, 2019).
68
  DiFranza et al., RJR Nabisco’s cartoon camel promotes camel cigarettes to children (Dec 11, 1991) JAMA
266(22):3149-53, www.ncbi.nlm.nih.gov/pubmed/1956102 (as of July 5, 2019). (The JUULs represent an even higher



                                       32
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under the pressure of an impending civil trial brought by the City Attorney in San Francisco,

Congressional investigation, and public pressure.69

        122.     Cigarette companies have also known for decades that flavored products are key to

nicotine adoption by youth. A 1972 Brown & Williamson internal memorandum titled “Youth

Cigarette – New Concepts,” observed that “it’s a well-known fact that teenagers like sweet

products.”70 A 1979 Lorillard memorandum found “younger” customers would be “attracted to

products with ‘less tobacco taste’” and suggested investigating the “possibility of borrowing

switching study data from the company which produces ‘Life Savers’ as a basis for determining

which flavors enjoy the widest appeal” among youth.71 A 2004 study found that 17-year-old

smokers were more than three times as likely as those over the age of 25 to smoke flavored

cigarettes, and they viewed flavored cigarettes as safer.72 Tobacco companies also used

advertisements that paired cigarettes with foods, to make it seem like cigarettes were part of a

healthy meal.

        J.       Because Advertising Fuels Youth Smoking, Tobacco Companies are
                 Prohibited from Viral Marketing Practices and Use of Flavors
        123.     Most of the activities described in the section above are now recognized as against

public policy, and thus forbidden for cigarette companies.

        124.     Under the Tobacco Master Settlement Agreement (“MSA”), reached in 1998,

participating manufacturers agreed not to “take any action, directly or indirectly, to target Youth
within any Settling State in the advertising, promotion or marketing of Tobacco Products, or take



percentage of all cigarettes and e-cigarettes sold to minors.)
69
   Joe Camel, Wikipedia https://en.wikipedia.org/wiki/Joe_Camel#cite_note-8 (as of July 5, 2019).
70
   Brown & Williamson official A.J. Mellman, (1983) Tobacco Industry Quotes on Nicotine Addiction,
www.ok.gov/okswat/documents/Tobacco%20Industry%20Quotes %20on%20Nicotine%20Addiction.pdf (as of July 5,
2019).
71
   Flavored Tobacco FAQs, Students Working Against Tobacco, (citing, Sedgefield Idea Sessions 790606-790607.
June                 8,               1979.             Bates             No.                 81513681/3691)
http://swatflorida.com/uploads/fightresource/Flavored%20Tobacco%20Industry%20Quotes%20and%20Facts.pdf
(as of July 5, 2019)
72
  Klein et al., Use of flavored cigarettes among older adolescent and adult smokers: United States, 2004-2005. (Jul
2008) Nicotine Tob Res. 10(7):1209-14, https://www.ncbi.nlm.nih.gov/pubmed/18629731 (as of July 5, 2019).



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any action the primary purpose of which is to initiate, maintain or increase the incidence of Youth

smoking within any Settling State.” MSA, § III(a). They are also prohibited from

        a.      using outdoor advertising such as billboards,

        b.      sponsoring events,

        c.      giving free samples,

        d.      paying any person “to use, display, make reference to or use as a prop any Tobacco

Product, Tobacco Product package . . . in any “Media,” which includes “any motion picture,

television show, theatrical production or other live performance,” and any “commercial film or

video,”; and paying any third party to conduct any activity which the tobacco manufacturer is

prohibited from doing.

        125.    In 2009, the FDA banned flavored cigarettes pursuant to its authority under the

Family Smoking Prevention and Tobacco Control Act of 2009. Then-FDA commissioner Dr.

Margaret A. Hamburg announced the ban because “flavored cigarettes are a gateway for many

children and young adults to become regular smokers.”73

        126.    The Tobacco Control Act of 2009 also prohibited sales of cigarettes to minors,

tobacco-brand sponsorships of sports and entertainment events or other social or cultural events,

and free giveaways of sample cigarettes and brand-name non-tobacco promotional items.

        127.    A study of the cigarette flavor ban in 2017 found that the flavor ban was effective
in lowering the number of smokers and the amount smoked by smokers, but also was associated

with an increased use of menthol cigarettes.74 The same study reported that 85% of adolescents

who use e-cigarettes use flavored varieties.




73
  Harris, Flavors Banned From Cigarettes to Deter Youth (Sep 22, 2009), The New York Times,
www.nytimes.com/2009/09/23/health/policy/23fda.html (as of July 5, 2019).
74
 Courtemanche et al., Influence of the Flavored Cigarette Ban on Adolescent Tobacco Use (May 2017), Am J Prev
Med 52(5):e139-e146, www.ncbi.nlm.nih.gov/pubmed/28081999 (as of July 5, 2019)



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       1.     JUUL’s Marketing Leveraged Banned Strategies Perfected by Cigarette
              Companies to Induce Minors and Young Non-Smokers to Purchase JUUL
              Products
       128.   Following the successful model of its predecessors, since 2015, Defendant JUUL,

in conjunction and in concert with Defendant PAX, has been operating a long-term viral marketing

campaign aimed at teenagers and young adults. This campaign extends and expands upon

deceptive advertising tropes used by tobacco companies to exploit the psychological needs of

consumers—especially youth—to convert them into smokers.




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       129.    JUUL’s admitted reliance on tobacco industry documents is apparent in a collection

of 82 JUUL advertisements compared to historical cigarette advertisements on Stanford’s

Research into Impact of Tobacco Advertising (“SRITA”) website. The side-by-side comparison

of numerous JUUL advertisements shows that its imagery directly parallels that adopted by

cigarette manufacturers, including imagery relating to attractiveness, stylishness, sex appeal, fun,

“belonging,” relaxation, and sensory pleasure, including taste.
       130.    Because of social media, JUUL has been able to operate an even more pervasive,

insidious, and successful viral marketing campaign than its predecessors in this industry. As set

forth below, JUUL developed and oversaw a long-term viral marketing campaign with the intent

to convince young people to purchase its products. JUUL’s advertisements presented images

depicting an idealized future self that adolescents could achieve by taking up JUUL products.

       131.    JUUL carried this campaign out by: (i) intentionally designing a campaign that was
simple and would trigger an emotional response, particularly with young people; (ii) intentionally




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designing flavored products that would appeal to teenagers and young adults; (iii) directing its

advertising to teenagers and young adults on social media; (iv) utilizing third party influencers to

amplify its message around the internet; (v) utilizing other social media tools, such as hashtags, to

encourage participation and word-of-mouth messaging by its customers; (vi) amplifying the

message through off-line advertising; and (vii) using a pricing and distribution model designed to

put the product within reach of youth.

       132.    JUUL’s advertisements consistently withheld material information about the

dangers of the product. Through this long-term advertising campaign, JUUL was able to persuade

consumers, and in particular teenagers and young adults that its product was cool, while hiding

from them the dangers associated with using the product. And because of the viral nature of

JUUL’s marketing, JUUL promotions continue to reach youth, despite JUUL’s deactivation of its

social media accounts.

       2.          JUUL Advertising Used Imagery that Exploited Young People’s
                   Psychological Vulnerabilities.
       133.    Throughout the relevant period, JUUL ran a consistent, simple message on social

media that communicated to people, and in particular, teenagers and young adults that JUUL’s

products were used by popular, attractive, and stylish young adults (i.e., an idealized version of an

adolescent’s future self) while failing to adequately and conspicuously disclose the nature or risks

of the products.
       134.    In designing the campaign, JUUL knew that to increase the chances that content

goes viral amongst the teen demographic, it needed to design a campaign that was simple, would

generate an emotional response that would resonate with teenagers, and obscure the fact that the

product was unsafe and addictive.

       135.    To help it design these ads, JUUL relied on various social media marketing

companies. In 2015, JUUL worked with Cult Collective, instructing Cult Collective to design an

ad campaign that would catch fire and reach customers who had “heard it all before.” At the time,
JUUL was a young company, competing with bigger, more established companies with large




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advertising budgets and high brand loyalty. The solution JUUL and Cult Collective reached was

to position JUUL as a modern product that represented a better way of life for young people. That

campaign was highly effective.

        3.       JUUL’s Launch Campaign Was Targeted to Create Buzz Among Young
                 Consumers.
        136.     To announce the JUUL’s release in June 2015, JUUL launched the “Vaporized”

advertising campaign that was aimed at a youth audience.75 The campaign used young, stylish

models, bold colors, and memorable imagery. The models were often using hand gestures or poses




that mimicked teenagers.

        137.     JUUL’s advertisements presented images depicting an idealized future self that

adolescents could achieve by taking up JUUL products.

        138.     The Vaporized campaign advertisements featured young, stylish models and

images of attendees at JUUL’s launch parties and highlighted themes of sexual attractiveness,

thinness, independence, rebelliousness and being “cool.” This Vaporized campaign targeted youth

using the exact template established by the cigarette companies decades earlier.




75
    Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized' Campaign (Jun 23, 2015) ADAGE,
http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-ads-campaign/299142/ (as of July 5, 2019).



                                       38
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        139.     Often the Vaporized ads contained the phrase “Smoking Evolved,” so that

consumers, and in particular youth, would associate JUUL with high tech and the latest generation

of cool products, like iPhones and MacBooks.

        140.     The color scheme chosen was similar to colors used by Natural Americans Spirit

Cigarettes, a leading brand of cigarettes among teenagers.

        141.     Nowhere in the Vaporized ads did JUUL include any visible or prominent

disclaimers about the dangers of nicotine or e-cigarettes as described above or state that JUUL was

unsafe for anyone under age 26.

        142.     As the Cult Collective creative director explained, “We created ridiculous

enthusiasm for the hashtag ‘Vaporized,’ and deployed rich experiential activations and a brand

sponsorship strategy that aligned perfectly with those we knew would be our best customers.”76

        143.     As part of the Vaporized campaign, JUUL advertised on a 12-panel display over

Times Square.




        144.     Billboard advertising of cigarettes has for years been unlawful under the Master

Settlement Agreement reached between 46 states’ attorneys general and cigarette companies, but

JUUL took advantage of that agreement’s failure to foresee the rise of vaping products to advertise


76
   Jackler et al., JUUL Advertising Over its First Three Years on the Market (Jan 31, 2019) Stanford Research into
the      Impact      of     Tobacco     Advertising,      Stanford     University     School      of     Medicine,
http://tobacco.stanford.edu/tobacco_main/publications/ JUUL_Marketing_Stanford.pdf (as of July 5, 2019). (Citing,
Cult Creative JUUL case study. http://cultideas.com/case-study/juul (last accessed September 21, 2018)). (emphasis
added)



                                       39
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its nicotine products in a manner that had already been deemed against public policy for other

nicotine products.

          145.   To ensure that its message would spread, JUUL utilized several other tools to put

its product in front of young people. First, it ran the Vaporized campaign in the front spread of

Vice magazine’s cover issue. Notably, Vice bills itself as the “#1 youth media brand” in the world

and is known for running edgy content that appeal to youth. JUUL also implemented a series of

pop-up “JUUL bars” in Los Angeles, New York, and the Hamptons, imitating pop-up restaurants

and bars typically aimed at attracting young, hip urban consumers. Again, this is an activity which

would have been prohibited by law for a cigarette company on the ground that it was against public

policy.




          146.   JUUL’s chief marketing officer, Richard Mumby said “while other campaigns tend
to be ‘overtly reliant on just the product,’ [JUUL’s] effort features diverse 20-to-30-year-olds using

the product.”77 This reliance on images of young, diverse users was specifically aimed at

convincing young people who were not previously addicted cigarette smokers to purchase JUUL

products, to make the use of JUUL appear fun and without long-term negative consequences, to

position the JUUL e-cigarette as the e-cigarette of choice for young adults, and to introduce youth

to the “illicit pleasure” of using the JUUL products.78


77
   Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized' Campaign (June 23, 2015), AdAge,
http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-ads-campaign/299142/ (as of July 5, 2019)
78
            Additional           images         and         videos        are          available             at
http://tobacco.stanford.edu/tobacco_main/subtheme_pods.php?token=fm_pods_mt068.php (as of July 5, 2019).



                                        40
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        147.     JUUL promoted the Vaporized campaign on Facebook, Instagram, and Twitter.

The Vaporized campaign included the largest ENDS smartphone campaign of 2015, which

accounted for 74% of all such smartphone advertising that year and generated over 400 unique

promotions.

        148.     JUUL also sponsored at least 25 live social events for its products in California,

Florida, New York and Nevada. The invitations to JUUL’s events did not indicate that the JUUL

was intended for cigarette smokers, was unsafe for anyone under 26, contained nicotine, carried

significant health risks or was addictive. Instead, the promised attendees “free #JUUL starter

kit[s],” live music, or slumber parties. Photographs from these events indicate that they drew a

youthful crowd. Use of sponsored events was a long-standing practice for tobacco companies but

is now forbidden.

        149.     John Schachter, director of state communications for Campaign for Tobacco-Free

Kids, expressed “concern about the JUUL campaign because of the youth of the men and women

depicted in the campaign, especially when adjoined with the design.” Mr. Schachter said “the

organization has noticed obvious trends that appeal to adolescents in e-cigarette campaigns such

as celebrity endorsements, sponsorships and various flavors.”79

        150.     To the extent that the Vaporized advertisements disclosed that JUUL products

contained nicotine, the warnings were in small print against low-contrast backgrounds, making
them easy to overlook. By way of comparison, if the same ads had been touting cigarettes, they

would have been required to display a health warning in high contrast black and white in a box

comprising 30% of the image.




79
   Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized' Campaign (June 23, 2015), AdAge,
http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-ads-campaign/299142/ (as of July 5, 2019).



                                       41
         Case 1:19-cv-01645-WCG Filed 11/08/19 Page 41 of 85 Document 1
        4.       JUUL Gave Away Free Products to Get New Consumers Hooked
        151.     JUUL distributed free starter packs at the live social events described above in

paragraph 125—conduct forbidden for a cigarette company under the Tobacco Master Settlement

Agreement, because it lured young people into nicotine addiction and related harms. BeCore, one

of the firms responsible for designing and implementing JUUL’s live events reported that “on

average, BeCore exceeded the sampling goals set by JUUL . . . average number of samples/event

distributed equals 5,000+.”80 (emphasis added).                At these events, BeCore distributed the

appropriately-named JUUL “Starter Kits,” which contain a JUUL and 4 JUUL pods of varying

flavors. If BeCore indeed gave away 5,000 Starter Kits per event, JUUL effectively distributed the

nicotine equivalent of 20,000 packs of cigarettes at each of the 25 events described above—or the

equivalent of 500,000 packs of cigarettes at all 25 events.




80
   Jackler et al., JUUL Advertising Over its First Three Years on the Market, Stanford Research into the Impact of
Tobacco        Advertising,    Stanford     University     School     of     Medicine      (Jan     31,    2019),
http://tobacco.stanford.edu/tobacco_main/ publications/JUUL_Marketing_Stanford.pdf (as of July 5, 2019).



                                       42
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       152.    Though JUUL publicly acknowledged in October 2017 that it is unlawful to free

samples of its products at live events, JUUL continued to do so, sometimes through $1 “demo

events.” Notably, promotions of this kind are prohibited for cigarette companies by the MSA.

       153.    The effect—and purpose—of JUUL’s Vaporized giveaways was to flood major

cities with free product which by its addictive nature would hook tens or hundreds of thousands of
new users, and to generate buzz for the brand among urban trendsetters who would then spread

JUUL’s message to their friends via word of mouth and social media. Similar campaigns have

long been used by drug cartels. This campaign unconscionably flooded cities with free samples of

an addictive product, with distribution focusing on the youth market. As a foreseeable result, JUUL

products ended up in the hands of non-smokers and youth, like Mr. Lingnofski, who used the

products, became addicted to nicotine and suffered severe health consequences.

       5.      JUUL Portrayed Its Products as Status Symbols.
       154.    As tobacco companies have long known, young people—and adolescents in
particular—find security and a sense of identity in status symbols. Even after the “Vaporized”



                                      43
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campaign, JUUL’s later advertisements mimicked the look and feel of the “Vaporized” ads to

foster the image of JUUL e-cigarettes and JUUL pods as sleek, stylish, status symbol. For

example, JUUL developed and ran a series of advertisements that were simple images of stylish

young people using JUUL.

       155.     All of these ads communicated to teenagers that JUUL was a product being used

by cool, modern young people, which JUUL, like all cigarette companies, knows is a powerful

message. None of these ads prominently disclosed the dangers of using JUUL.

       156.     Other JUUL advertisements relied on graphic images with the look and feel of

advertisements by Apple, Google, and similar tech companies with progressive and modern

reputations. Again, these ads resonated with teenagers as well, as they made JUUL, and especially

the flavored pods, look like cool gadgets or software, something akin to an iPhone or a hot new

app to download. Like the other ads, none prominently disclosed the dangers of using JUUL.

       157.     JUUL also consistently compared the JUUL to the iPhone through statements like

“the iPhone of e-cigarettes,” which JUUL posted on its website, distributed through social media,

and disseminated through its email campaign. The iPhone is the most popular smartphone among

adolescents, with 82% of teenagers preferring Apple’s phone over the competition. JUUL’s

advertising images frequently include pictures of iPhones and other Apple devices, including

iPads, Beats Headphones, MacBook laptops. Through these images, JUUL presented its image a
“must have” technology product and status symbol, instead of a nicotine delivery system.

       158.     Beyond triggering an emotional response in teenagers, all of JUUL’s social media

advertising had three additional things in common. First, through the use of clean lines, artistic

arrangements, minimal text, and eye-catching graphics, JUUL ensured that the advertisements

would jump out to distracted teenagers who scrolled crowded social media pages on their phones

and browsers.

       159.     Second, all of JUUL’s advertisements reflect an understanding that social media

users in general, and teenagers in particular, do not typically read long blocks of text on social
media, and rely more heavily on imagery instead of text to convey a message. Many of the ads



                                      44
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did not include any warning about the dangers of JUUL or suggest to teenagers that the product

contained nicotine.

       160.    Moreover, where JUUL’s advertisements appeared to contain such a disclaimer,

this disclaimer was not typically seen when viewing social media due to the way the posts appear

in phones and browsers. In particular, Facebook and Instagram typically only present to users the

image and a couple lines of text, and viewers who want to see the entire post must click on it to

open it up and read the rest.

       161.    JUUL’s Instagram advertisements obscure those nicotine warnings by placing them

in a location that requires the user to open up the post and read it. As can be seen in JUUL’s

Instagram ads, the company consistently used brief text at the beginning of a post so that it would

to be a complete sentence with no further content. Thus, the disclaimer was never visible to anyone

viewing the posts in their main feed, and it was only seen by a limited number of people who

elected to open the post and then read what was there. Notably, on Twitter, a Social Media Platform

that is geared towards reading text, and on Facebook, where some users do read text, JUUL

typically did not include the disclaimer in its advertisements.

       162.    Third, JUUL’s advertisements were typically creative, giving them the look and

feel of “art.” Thus, teenagers were drawn to the advertisements, holding their gaze on the ads for

longer periods of time, and being more inclined to share the advertisement with others in their
networks, thus accomplishing JUUL’s goal: turning consumers into salespeople.

       163.    Even JUUL’s newer “alternative for adult smokers” tagline suggests to adolescents

that JUUL-use is a symbol of status as an adult, which happens to be an advertising theme cigarette

companies peddled to youth for decades.




                                      45
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           6.      JUUL Used Flavors and Food Imagery to Attract Teenagers and Downplay
                   Risks
           164.    JUUL sells its JUUL pods in a variety of sweetened flavors. It even advertised some

of its flavors as though they were desserts in themselves. For example, it advertised its crème

brulee flavor using tag lines like “save room for JUUL” and “indulge in dessert without the spoon.”

JUUL used imagery that looked like ads for a trendy coffee shop or restaurant.




           165.    Again, none of these advertisements prominently disclosed that JUUL was

addictive and unsafe.

           166.    The tobacco industry has long known that sweetened cigarettes attracted young

smokers. As discussed above, the FDA banned flavored cigarettes for that reason.

           167.    The use of flavors that appeal to youth has a marked effect on e-cigarette adoption

by young “vapers.” A national survey found that that 81 percent of youth aged 12-17 who had

ever used e-cigarettes had used a flavored e-cigarette the first time they tried the product, and that

85.3% of current youth e-cigarette users had used a flavored e-cigarette in the past month.

           168.    Moreover, 81.5 percent of current youth e-cigarette users said they used e-cigarettes

“because they come in flavors I like.”81 Another peer-reviewed study concluded that “Young

adults who use electronic cigarettes are more than four times as likely to begin using regular

cigarettes as their nonvaping peers, a new study has found.”82

81
  Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged 12-17 Years, 2013-2014 (Oct 26, 2015),
JAMA 314(17):1871-1873 https://jamanetwork.com/journals/jama/fullarticle/2464690
82
     Primack et al., Initiation of Traditional Cigarette Smoking after Electronic Cigarette Use Among Tobacco-Naïve



                                          46
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          169.    Research also shows that when youth see flavored ENDS liquids advertisements,

they believe the advertisements and products are intended for them.83

          170.    The use of attractive flavors foreseeably increases the risk of nicotine addiction,

and e-cigarette related injuries, as traditional cigarette product designs aimed at reducing the

unpleasant characteristics of cigarette smoke (e.g., addition of menthol to mask unpleasant flavors)

have previously been shown to contribute to the risk of addiction.84 Worse still, adolescents whose

first tobacco product was flavored are more likely to continue using tobacco products than those

whose first product was tobacco-flavored.

          171.    JUUL’s kid-friendly flavors included Mango, “Cool” Mint, and Menthol. Seventy-

four percent of youth surveyed in a recent study indicated that their first use of a JUUL was of a

flavored pod.85 More than half of teens in a nationwide survey by the Wall Street Journal stated

that they use ENDS because they like the flavors.

          172.    When JUUL released what are now the two most popular flavors among youth:

Mango and “Cool” Mint (“Cool Mint”), JUUL promoted those flavors on Instagram, Twitter,

YouTube and Facebook—all of which are skewed toward young audiences.

          173.    JUUL’s Mango pods quickly became the runaway favorite among youth. The

Mango pods are so popular that, incredibly, they noticeably increased the use of the word “mango”

on the internet as a whole. Starting in early 2017, Google Trends reports a nearly five percent
increase in year-over-year use of the word “mango” online.86




US Young Adults (Apr 2018), Vol. 131, Issue 4, 443.e1–443.e9, www.amjmed.com/article/S0002-9343(17)31185-
3/fulltext
83
 McKelvey et al., Youth say ads for flavored e-liquids are for them (Aug 29, 2018), Addict Behav. 91:164-170,
www.ncbi.nlm.nih.gov/pubmed/30314868 (as of July 5, 2019)
84
  How Tobacco Smoke Causes Disease: The Biology and Behavioral Basis for Smoking-Attributable Disease: A
Report of the Surgeon General, Chapter 4, Nicotine Addiction: Past and Present (2010)
www.ncbi.nlm.nih.gov/books/NBK53017/ (as of July 5th, 2019).
85
  McKelvey et al., Adolescents and young adults use in perceptions of pod-based electronics cigarettes (Oct 19, 2018),
JAMA Netw Open. 1(6): e183535 www.ncbi.nlm.nih.gov/pmc/articles/PMC6324423/ (as of July 5, 2019).
86
     https://trends.google.com/trends/explore?date=2014-06-01%202018-12-05&geo=US&q=mango



                                         47
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          174.    “Cool” Mint became youths’ second youth favorite flavor. The 2018 Duell Study

found 94 mg/mL nicotine in a JUUL “Cool” Mint pod – nearly double the amount on JUUL’s “5%

strength” label would suggest.

          175.    JUUL’s advertising emphasized the flavors of its sweetened nicotine pods.

Leveraging the flavors, JUUL advertised JUUL pods as part of a meal, to be paired with other

foods. In late 2015, JUUL began a food-based advertising campaign called “Save Room for

JUUL.” A play on the expression “save room for dessert,” JUUL’s campaign focused on the JUUL

pods’ sweet flavors and pairing them with foods. JUUL described its crème brulee nicotine pods

as “the perfect evening treat,” using tag lines like “save room for JUUL” and “indulge in dessert

without the spoon.” In one 2016 email, JUUL bluntly suggested that users satisfy their sugar

cravings with JUUL’s highly-addictive nicotine vapor: “Have a sweet tooth? Try Brulee.”

          176.    JUUL similarly promoted the Fruit Medley pods using images of ripe berries.

JUUL described its “Cool” Mint pods as having a “crisp peppermint taste with a pleasant

aftertaste” and encouraged consumers to “Beat The August Heat With Cool Mint,” and in a

Facebook advertisement dated July 10, 2017, JUUL urged customers to “start your week with cool

mint juul pods.”87 Along with the bright green caps of the “Cool” Mint JUUL pods, the Facebook

ad included an image of a latte and an iPad. Id.

          177.    JUUL even hired celebrity chefs to provide pairing suggestions for JUUL flavors.
On Instagram and Twitter, JUUL boasted about “featured chef” Bobby Hellen creating a “seasonal

recipe to pair with our brulee pod.”          On Facebook, JUUL posted a link to an article on

porhomme.com about “what our featured chefs created to pair with our pod flavors.”88 JUUL




87
     https://airtable.com/tblkPVYIp5AFNLrTy/viwFFlmOJSzXHskhz/recEYkrXbuSCdZB0h
88
     Facebook_10, https://airtable.com/tblkPVYIp5AFNLrTy/viwFFlmOJSzXHskhz/rec0vT9owbjQeVUuY.



                                         48
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tweeted repeatedly about its flavors and encouraged its social media followers to share their

preferred pairings.




       178.    In several caffeine-pairing advertisements, JUUL devices or pods sit next to coffee

and other caffeinated drinks, sometimes with what appear to be textbooks in the picture. JUUL’s

coffee-based advertisements suggest that JUUL should be part of a comfortable routine, like a cup

of coffee. This comparison to coffee was an intentional effort to downplay and minimize the risks

of JUUL, suggesting it was no more risky than coffee; a tactic utilized by tobacco companies for

decades to equate nicotine with caffeine.

       179.    By positioning JUUL pods as a delicious treat rather than a system for delivering a

highly addictive drug with dangerous side effects, JUUL unfairly led consumers to the conclusion

that JUUL pods were not only healthy (or at least essentially harmless), but also a pleasure to be
enjoyed regularly, without guilt or adverse effect.

       180.    By modeling its nicotine pods’ flavor profiles on sweets, naming its nicotine pods

after those sweets, and using images of the sweets in JUUL pod advertisements, JUUL conditioned

viewers of its advertisements to associate JUUL with those foods. Through this conditioning

process, Defendant sought to link the sight or mention of JUUL products to mental images of the

fruits and desserts in JUUL’s advertising, which would in turn trigger food-based physiological




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arousal including increased salivation and heart rate. These physiological responses, in turn, would

make JUUL use more appealing.

        181.    By 2017, JUUL knew that the foreseeable risks posed by fruit and candy-flavored

e-liquids had materialized. A significant percentage of JUUL’s customers included adolescents

who overwhelmingly preferred Fruit Medley and Crème Brulee over Tobacco or Menthol.89

Instead of taking corrective action or withdrawing the sweet flavors, JUUL capitalized on youth

enthusiasm for its products.

        182.    JUUL disingenuously asserts that it did not intend its flavors to appeal to young

people, including Mr. Lingnofski. After 11 senators sent a letter to JUUL questioning its marketing

approach and kid-friendly e-cigarette flavors like Fruit Medley, Creme Brulee and Mango, JUUL

visited Capitol Hill and told senators that it never intended its products to appeal to kids and did

not realize they were using the products, according to a staffer for Sen. Dick Durbin (D-Ill.).

JUUL’s statements to Congress—which parallel similar protests of innocence by tobacco company

executives—were false.

        183.    In November 2018, in response to litigation and other mounting public pressures,

JUUL announced that it had “stopped accepting retail orders” for many of its flavored JUUL pods,

such as mango, crème brulee, and cucumber.90 But JUUL’s promise is misleading. JUUL has only

refused to sell them directly to retailers, but it still manufactures and sells the JUUL pods. The
pods can still be purchased on its website by persons under age 26. JUUL also continues to sell

“Cool” Mint in gas stations knowing that the flavor is incredibly popular with youth and will

become the de facto favorite if access to other flavors is removed.

        184.    The only responsible solution to prevent flavored JUUL pods from getting into the

hands of young people is to stop manufacturing them.



89
    Truth Initiative, JUUL fails to remove all of youth’s favorite flavors from stores (Nov 15, 2018),
https://truthinitiative.org/news/juulfails-remove-all-youths-favorite-flavors-stores (as of July 5, 2019).
90
  Kaplan & Hoffman, Juul Suspends Selling Most E-Cigarette Flavors in Stores (Nov 13, 2018), The New York
Times, www.nytimes.com/2018/11/13/health/juul-ecigarettes-vaping-teenagers.html (as of July 5, 2019).



                                       50
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         7.       JUUL Developed Point-of-Sale Advertising That Emphasized the Products’
                  Positive Image Without Adequately Disclosing Its Nature and Risks.
         185.     The cigarette industry spends $8.6 billion a year in point-of-sale (“POS”)

promotions—or almost $990,000 every hour.91 In a 2009 study of adult daily smokers, unintended

cigarette purchases were made by 22 percent of study participants, and POS displays caused nearly

four times as many unplanned purchases as planned purchases. Id. at 4. Younger smokers, in

particular, are more likely to make unplanned tobacco purchases in the presence of POS

advertising. Id.

         186.     Studies show that tobacco use is associated with exposure to retail advertising and

relative ease of in-store access to tobacco products. Some studies have shown that youth who were

frequently exposed to POS tobacco marketing were twice as likely to try or initiate smoking than

those who were not as frequently exposed. Frequent exposure to tobacco product advertising and

marketing at retail normalizes tobacco and smoking for youth over time and makes them more

likely to smoke. POS marketing is also associated with youth brand preference. Research shows

that young adult smokers prefer the tobacco brands marketed most heavily in the convenience store

closest to their schools. Before its launch in 2015, JUUL and Cult Collective developed innovative

packaging and creative in-store displays that would carry their message through into stores.

         187.     In particular, they designed bright, white packages. The packaging looked similar

to iPhone packaging, which JUUL knew would resonate with young people, and because it was
solid white, the packaging stood out and caught people’s eyes when displayed in store shelves.

This packaging buttresses Defendant’s online marketing of JUUL e-cigarette as “the i-Phone of

Ecigs,” thereby framing them as a cool, fashionable item to own and use. JUUL posters and signs

at the point of sale also promoted JUUL’s flavors. From 2015 through late 2018, JUUL promoted

JUUL products and JUUL flavors at the point of sale without disclosing that the products contained

nicotine or warning that the products could lead to addiction. Instead, JUUL’s promotions

displayed the colorful JUULpod caps and their food-based names while omitting that JUUL

91
        The        Truth       About        Tobacco        Industry     Retail      Practices,     Truth       Initiative,
https://truthinitiative.org/sites/default/files/media/files/2019/03/Point-of-Sale-2017_0.pdf (as of July 5, 2019).



                                        51
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delivers nicotine, is addictive, carries risks of stroke and other cardiovascular events, and is unsafe

for anyone under age 26.

       188.    For many, JUUL’s POS materials provided an introduction to the brand. Because




JUUL’s POS materials omitted the most material features of JUUL’s product—that it is a

powerfully addictive nicotine delivery system, unsafe for anyone under age 26—adolescents who

saw JUUL’s POS and were later offered a JUUL would have no reason to think that what they

were being offered JUUL contained nicotine, or posed risks of addiction, or was unsafe.




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        8.      JUUL Used Social Media to Inundate Target Consumers, Particularly Youth,
                With Messaging Promoting Its Nicotine Products
        189.    JUUL not only designed its advertising with an eye to what might be appealing to

young people, but set about disseminating those ads to ensure that young people see them. JUUL

set out to advertise on at least three major social media platforms: Instagram, Facebook, and

Twitter, and disseminated the information in various ways across the platforms.

        190.    On information and belief, JUUL maintains active accounts on most social media

platforms, including Instagram, Facebook, and Twitter, where JUUL tweeted nearly 5,000 times

in 2017 alone. As of 2016, 76 percent of American teens age 13-17 used Instagram, 66 percent of

teens use Facebook, and 44 percent of teens use Twitter.92 While JUUL continues to maintain its

Twitter page, it deleted nearly all content from its Instagram and Facebook pages around

November of 2018, in response to lawsuits.

        191.    JUUL was able to deliver content directly on social media using two approaches.

First, it could post its advertisements directly to its own page, where it would be viewed by those

who followed JUUL, and those who shared its posts (“Unpaid Advertising”). And it could engage

in paid advertising, whereby it could target specific demographics of people to ensure they

received its advertisements (“Paid Advertising”).

        192.    With respect to Unpaid Advertising, Instagram was the centerpiece of JUUL’s teen-

focused advertising blitz. Instagram is used overwhelmingly by teenagers. At least 72% of
teenagers in the United States have an Instagram account, and at least 63% of teenagers between

the ages of 13 and 17 use Instagram every day. 93 While increasingly more adults are using

Instagram, this has been a recent development, and thus, advertisers typically only use Instagram

if they are interested in marketing to young people, especially teenagers.



92
  Snapchat And Instagram Are The Most Popular Social Media Platforms Among American Teens, The Associated
Press-NORC Center for Public Affairs Research, http://apnorc.org/projects/Pages/HTML%20Reports/instagram-
and-snapchat-are-most-popular-social-networks-for-teens.aspx (as of July 5, 2019)
93
  Smith & Anderson, Social Media Use in 2018: A majority of Americans use Facebook and YouTube, but young
adults are especially heavy users of Snapchat and Instagram (Mar 1, 2018), Pew Research Center,
www.pewinternet.org/2018/03/01/social-media-use-in-2018/ (as of July 5, 2019).



                                       53
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        193.    Because of the way Instagram delivers content, Instagram allowed for fast, effective

delivery and sharing of its graphic, simple messages. Users would see these images simply by

scrolling through their feeds.

        194.    JUUL also disseminated Unpaid Advertising across social media through its use of

hashtags. Hashtags are simple phrases preceded by a #, and they operate as a way of cataloguing

posts. Authors of posts use hashtags if they want their posts to be discovered and seen by people

outside of their networks. On most social media platforms, users can find information by doing a

search for a hashtag with that key word. Thus, people interested in JUUL, could enter into the

search bar on most Social Media Platforms “#JUUL” to find posts that include that hashtag.

Instagram takes it one step farther and allows users to set up their accounts so that posts with a

certain hashtag are automatically delivered to their feed.

        195.    JUUL’s hashtag marketing played a central role in the viral spread of JUUL

between teenagers. The use of hashtags in social media advertisements “can be used to get your

content in front of a bigger audience, raise awareness about your brand, target a very specific group

of people, boost your SEO, and use hot trends and topics to your advantage.94 Hashtags are “the

best weapon in your arsenal, aside from influencer marketing” for getting content “in front of its

intended audience.” Id. Through hashtag marketing, brands can join in on trending topics,

engaging “an insane amount of readers” by using “hashtags which aren’t closely related to your
industry” by, e.g., using holiday-related hashtags. Id. By using “branded hashtags” that include

the company’s name or a specific product, advertisers can monitor the performance of specific

campaigns. Another advantage of branded hashtags is user-generated content: “Every time a user

puts one of your branded hashtags inside one of their posts, they are increasing your presence on

social media” by promoting the branded hashtag, and the related content, to the user’s followers.

Id. (emphasis added).       Through successful hashtag marketing campaign, brands can create


94
    Ryan, Hashtag Marketing: How to Use Hashtags for Better Marketing Campaigns, Mention,
https://mention.com/blog/hashtag-marketing-how-to-use-hashtags-for-better-marketing-campaigns/ (as of July 5,
2019).



                                       54
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communities through which “followers will not only be able to communicate via chat or messages,

but also connect with each other by using your hashtag.” Id. (emphasis in original).

           196.     From 2015 through 2018, JUUL used hashtag marketing consistently on Twitter,

Instagram, and Facebook to promote its products. In various posts, JUUL would slip in hashtags

so that their posts would be found by young people. This post is not a paid advertisement, but a

post to JUUL’s Instagram feed. JUUL used #TBT, which is an acronym for “Throwback

Thursday.” Throwback Thursday is a popular meme on social media, and teenagers are especially

likely to understand it and use it. Thus, any teenager who had elected to follow the hashtag TBT

would see this post when they logged into Instagram that day. Moreover, no one would see any

warning regarding nicotine unless they actually opened the post. JUUL frequently used other

hashtags that would be used by teenagers to push their product to them across social media, such

as #icymi (“in case you missed it”).

           197.     JUUL also used hashtags to convert young users into salespersons through unpaid

viral marketing.

           198.     Despite JUUL deactivating some of its social media accounts in November 2018,

“the vibrant community of #juul lives on, including an abundant representation of youthful

postings.”95 “The JUUL hashtag lives on. It’s immortal. It’s still viral in peer-to-peer teen

promotion.”96
           199.     In disseminating Paid Advertising, the Social Media Platforms allow companies

like JUUL to engage in micro-targeting, i.e., to select precisely what demographics of people

should be exposed to its advertising. Social Media Platforms create internal profiles for the

consumers that use them, tracking their online activity to determine their likes, habits, and

purchasing power. When advertisers pay to disseminate ads, they can choose to target those ads

so that they are received only by people whose digital footprint suggests an interest or

predisposition to the product. JUUL would have had the option to exclude teenagers. It also could

95
     Robert K. Jackler, M.D. et al, JUUL Advertising Over Its First Three Years on the Market (Jan. 21, 2019).
96
     Quote by Robert K. Jackler, M.D., in https://www.vox.com/2019/1/25/18194953/vape-juul-e-cigarette-marketing.



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have elected to narrow its target audience to people with an interest in tobacco products, if it

wanted to reach and convert non-smokers. Or it could target a broader audience of people whose

digital footprints did not reveal that they were smokers.

       200.     While JUUL’s precise targeting methods are unknown, on information and belief,

young people like Mr. Lingnofski are known to have been exposed to JUUL’s Paid Advertising

while on social media, suggesting that JUUL did not narrow its target audience to adult smokers

       201.     Moreover, regardless of to whom JUUL targeted paid advertisements, JUUL’s use

of Paid Advertising was aggressive, and had the inevitable result of reaching teenagers, including

Mr. Lingnofski. Paid advertising can be shared and liked just as Unpaid Advertising. JUUL

relentlessly advertised to its targeted audience, across all Social Media Platforms. Mr. Lingnofski

saw JUUL advertising on a near daily basis, regardless of what platform he used. The continual

use of Paid Advertising increased the pressure to buy, and it made quitting harder due to the fact

that he was exposed to the advertising all day long through his phone and other personal electronic

devices.

       9.       JUUL Exploited Social Media to Target Young People
       202.     To broaden the reach of its campaign, JUUL used “influencers” to push the product

to young people. Influencers are “high-social net worth” individuals who have developed large

social media followings – i.e., the “cool kids” of the social media world. People follow influencers
because they tend to deliver lots of high quality, interesting photos and content, and because they

are known to be trend-setters.

       203.     Viewed as tastemakers and trendsetters by their followers, influencers are prized

sources of brand promotion on social media networks. Companies seeking to market products

often will pay influencers to advertise their products, similar to the ways in which they utilize

“product placement” in movies. They seek out influencers with large amounts of followers in their

target demographic and will offer these influencers money or other deals to promote their products.

The influencer then will create various posts on social media using the product. Typically, these
posts are images of them using the product, but sometimes these posts will include videos, longer



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written reviews, or other information about the product. Influencers often include in these posts

company-endorsed hashtags or links to the company’s website to try to direct their followers to

learn more. The company gets the benefit of having word-of-mouth advertising, and the influencer

is able to attract more followers because those followers want to stay in the loop about new

products and deals. While influencers operate on all Social Media Platforms, most of them rely

primarily on Instagram.

           204.     JUUL relied on influencers to carry out its viral marketing campaign. JUUL’s

reliance on influencers appears to have begun around June 2015, when JUUL listed a position on

its website for a three-month Influencer Marketing Intern.97 JUUL described the position as

follows: “The Influencer Marketing Intern will create and manage blogger, social media and

celebrity influencer engagements. . . to build and nurture appropriate relationships with key

influencers in order to drive positive commentary and recommendations through word of mouth

and social media channels, etc.” (Id.). JUUL’s efforts to solicit influencers appears to have been

underway for years; until December 2018, JUUL’s website still called for individuals to “Join the

JUUL influencers.” Applicants were required to disclose their profile information for Instagram,

Twitter, and Facebook, as well as various other blog and vlog platforms, suggesting that JUUL

was interested in understanding whether the influencers could help JUUL reach its targeted youth

demographic.
           205.     JUUL’s outreach had its desired impact, as it was able to line up influencers to

promote its products to teenagers, while spreading pictures of cool, young people using JUUL. In

addition to all the means above, JUUL paid influencers and celebrities to promote JUUL,

generating even more attention and exposure to young people, and reinforcing that the products

were safe, cool, and fun.

           206.     JUUL used or ratified multiple accounts across many social media sites to reach

young people, even encouraging users to JUUL at school.


97
     https://www.internships.com/marketing/influencer-marketing-intern-i7391759 (last accessed Nov 14, 2018).



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        207.    JUUL also enjoyed the benefit of third-party promoters who reached hundreds of

thousands of young people.

        208.    Cigarette companies are prohibited from conducting any of the practices described

above under the Tobacco Master Settlement Agreement. Activities such as product placement in

performances and professional videos have been identified as against public policy for nicotine

products.

        209.    One recent study concluded that JUUL was “taking advantage” of the reach and

accessibility of multiple social media platforms to “target the youth and young adults . . because

there are no restrictions,” on social media advertising. 98

         10.     JUUL Utilized a Pricing and Distribution Model Designed to Put the Product
                 Within Reach of Youth Without Disclosing Harms.
        210.    Cigarette companies for years sold youth-brand cigarettes at lower prices that

young smokers could afford and used discounts and other promotions to ensnare them. JUUL is

no different. It not only designed a marketing campaign to reach young people and entice new

smokers, but it priced its products in such a way to ensure they would buy them.

        211.    A pack of four JUUL pods, which, according to JUUL, is the equivalent of four

packs of cigarettes, costs approximately $13-$20. JUUL’s website charges $15.99 for a pack of

JUUL pods, or about $4 per JUULpod. By contrast, a single pack of cigarettes in Connecticut costs

approximately $9, and $13 in New York.
        212.    For years, JUUL directed all of its product to gas stations. JUUL knows that

teenagers and those new to smoking are likely to frequent gas stations and convenience stores

rather than smoke shops. By distributing in those kinds of stores, JUUL would increase the chances

that these people would purchase the product.

        213.    To further drive curiosity and interest, and make it so its target audience, and

especially teenagers, would purchase JUUL, JUUL instructed retailers to display the product in an

98
  Kelley, JUUL Sales Among Young People Fueled by Social Media, Says Study (Jun 4, 2018), The Washington
Times, www.washingtontimes.com/news/2018/jun/4/juul-sales-among-young-people-fueled-by-social-med/ (as of
July 5, 2019).



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unusual fashion. Whereas cigarettes and other tobacco products have long been kept behind the

counter, JUUL designed display cases that would sit on store shelves. JUUL intentionally designed

the clear display cases so that the bright white, sleek packaging and the flavors would catch

consumers’ eyes and make them interested in purchasing the product.

        214.     JUUL knew that by asking retailers to display JUUL products separate from other

tobacco products, and within arms’ reach, it would also suggest to consumers that JUUL was safer

than traditional cigarettes and that it was not an addictive drug.

        K.       JUUL Used Non-Age-Restricted Emails to Promote and Track Its Products
        215.     Between 2015 and 2018, JUUL sent around 200 email promotions to customers and

potential customers. JUUL’s email subscription list was not age-restricted and, until recently,

users who failed the age verification requirements on JUUL’s purchase page were nevertheless

added to JUUL’s mailing list and emailed a coupon for a discount on a Starter Kit. The JUUL

emails promoted retail locations, flavors, discounts, and “refer a smoker” programs. The emails

also promoted JUUL’s find-a-store locator.

        216.     JUUL also used emails to distribute surveys. Because JUUL’s emails were not age-

restricted, neither were their surveys. On information and belief, JUUL thus collected data from

minors. JUUL paid customers, including youth, up to $30 to complete some surveys.

        L.       JUUL Knew that its Scheme to Attract Young Smokers Like Mr. Lingnofski
                 had Worked
        217.     Within a few months of the JUUL’s commercial release in June 2015, a former

JUUL executive reportedly told the New York Times that JUUL “quickly realized that teenagers

were, in fact, using [JUULs] because they posted images of themselves vaping JUULs on social

media.”99




99
   Richtel & Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The e-cigarette company says it never
sought teenage users, but the F.D.A. is investigating whether Juul intentionally marketed its devices to youth (Aug
27, 2018), The New York Times, www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html (as of July
5, 2019).



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        218.    JUUL tracked and closely monitored usage among youth through social media,

online surveys, YouTube videos, hashtags, likes, email lists, and myriad other sources.

        219.    By the end of 2015, young people had posted tens of thousands of videos on

YouTube demonstrating ways to “JUUL in school” and in other locations without teachers,

coaches or parents finding out.

        220.    From the outset, JUUL was well-aware that a huge portion of its sales was going to

persons like Mr. Lingnofski under age 26, but did nothing to curb, prevent, mitigate the harms that

its products could cause.

        M.      JUUL Created a Youth-Vaping Epidemic and Exposed a New Generation to
                the Dangers of Nicotine Products.
        221.    JUUL’s marketing and product design efforts have been wildly successful. Since

its launch, JUUL is now the fastest growing e-cigarette in the country. Because the JUUL delivers

more nicotine in a shorter amount of time than any other product, delivers that nicotine in a

sweetened vapor that causes no irritation, and does so through a concealable device that can be

consumed discretely in class, at home, and in the car, nicotine naïve users like Mr. Lingnofski

frequently spiral into patterns of addiction with no historical precedent. It is not uncommon for

teenagers, like Mr. Lingnofski, to consume two JUUL pods a day, the nicotine equivalent of at

least as many—and likely more—packs of cigarettes.

        222.    Because JUUL’s marketing turned the JUUL into a status symbol for teens, the
acute nicotine addiction a JUUL fosters is frequently reinforced by the idea—which JUUL

spread—that JUUL use is what “cool” popular kids do in high school. As a result, the medical

community has found itself ill-equipped to develop a treatment for JUUL-addicted youth, as

evidenced by a January 2019 FDA-sponsored meeting concerning the role of drug therapies in

treating e-cigarette use.

        223.    The vaping epidemic caused by JUUL has swept the entire nation in a short period

of time. On December 28, 2018, the University of Michigan’s National Adolescent Drug Trends
for 2018 reported that increases in adolescent Electronic Nicotine Delivery System (“ENDS”)




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vaping from 2017 to 2018 were the “largest ever recorded in the past 43 years for any adolescent

substance use outcome in the U.S.” 100

        224.     The percentage of 12th grade students who reported vaping nicotine almost doubled

between 2017 and 2018, rising from 11% to 21%. The ten-percentage-point increase in 12th grade

students who reported vaping nicotine (an indicator of nicotine addiction) is “twice as large as the

previous record for largest-ever increase among past 30-day outcomes in 12th grade.” Id. “One

in five 12th graders vaped nicotine in the last 30 days in 2018.” Id. And because JUUL controls

over 50% of the e-cigarette market and was released immediately prior to the jump in vaping

prevalence from 11% of teens to 21%, the entire increase in vaping prevalence since 2016 is

attributable to JUUL.

        225.     FDA Commissioner Dr. Scott Gottlieb has described the increase in e-cigarette

consumption as an “almost ubiquitous – and dangerous – trend” that is responsible for an

“epidemic” of nicotine use among teenagers.101 The rapid –indeed infectious- adoption of e-

cigarettes “reverse[s] years of favorable trends in our nation’s fight to prevent youth addiction to

tobacco products.” Id. The Commissioner identified the two primary forces driving the epidemic

as “youth appeal and youth access to flavored tobacco products.” Id.

        226.     Within days of the FDA’s declaration of an epidemic, Surgeon General Dr. Jerome

Adams also warned that the “epidemic of youth e-cigarette use” could condemn a generation to “a
lifetime of nicotine addiction and associated health risks.”102

        227.     Even more troubling are the challenges associated with getting kids to quit JUUL

once they start. JUUL’s aggressive social media campaign puts JUUL advertisements before them

every day, all day. Those that want to stop thinking about it are faced with advertising when

100
  Prieur, National Adolescent Drug Trends in 2018 (Dec 17, 2018), Institute For Social Research, The University of
Michigan, https://isr.umich.edu/news-events/news-releases/national-adolescent-drug-trends-in-2018/ (as of July 5,
2019).
101
  FDA launches new, comprehensive campaign to warn kids about the dangers of e-cigarette use as part of agency’s
Youth Tobacco Prevention Plan, amid evidence of sharply rising use among kids, U.S. Food & Drug Administration,
(Sep 18, 2018), www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm620788.htm (as of July 5, 2019)
102
   Surgeon General’s Advisory on E-cigarette Use Among Youth (last updated Apr 9, 2019), CDC,
www.cdc.gov/tobacco/basic_information/e-cigarettes/surgeon-general-advisory/index.html (as of July 5, 2019).



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engaging in their regular activities. And even while JUUL has purportedly stopped advertising on

social media in recent months, its hashtags, imagery, and impact live on, as there remain nearly

524,000 posts and counting on Instagram featuring the #juul hashtag as of July 8, 2019.

        228.   Moreover, many medications for breaking nicotine addictions are approved only

for adults.

        229.   The inadequacy of quality control and other standards in the manufacture of JUUL

raises additional, serious public health concerns regarding youth access and use. For instance,

actual nicotine concentrations in JUUL can vary from advertised amounts, sometimes significantly

exceeding the advertised concentration of nicotine. Because the concentration of nicotine in JUUL

pods is already staggeringly high and potent, concentrations over the advertised amounts can

increase the risk that users could become addicted or experience nicotine poisoning, or experience

a spike in blood pressure which can result in serious illness or death. A related concern is the lack

of full disclosure of all ingredients in e-liquids, some of which can also cause harm when inhaled.

        N.     JUUL Implemented its Advertising Strategy with the Advice and Services of
               Defendants
        230.   In order to implement such a diverse, wide-ranging advertising scheme, designed

for the sole purpose of delivering its JUUL e-cigarette products to young consumers, JUUL worked

in concert with an array of marketing, research and development, and distribution professionals.

        231.   JUUL’s advertising and marketing relied on the ideas, strategies, and advice of
marketing and public relations entities.

        232.   These entities willingly and knowingly provided advertising expertise to JUUL,

fully aware that JUUL would use these advertisements to target, sell to, and ultimately increase

the number of young people consuming nicotine via its products.

        233.   Defendants used their knowledge of how young adults use social media, interact

with social media posts, and are influenced by such posts, to create an advertising strategy designed

to consistently, relentlessly, and exploitatively induce young adults and teenagers to use JUUL’s
JUUL e-cigarette products.




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       234.    Other cigarette companies provided their marketing services knowing that the

marketing slogans, advertisements, and advertising methods they created were deceptive, provided

no meaningful warning to users, and would necessarily mislead or otherwise falsely suggest that

JUUL’s JUUL e-cigarette products were not harmful, not addictive, or otherwise safe for use.

       235.    Defendants expended time, money, and effort in order to design, create, and

implement and pervasive advertising scheme whose sole purpose was to exploit and influence the

minds of young adults into associating social status, popularity, desirability, and success with the

purchase and consumption of JUUL’s JUUL e-cigarette products.

       236.    Defendants essentially used the playbook of cigarette and tobacco product

advertising implemented by companies such as Philip Morris, in order to market JUUL e-cigarette

products to young adults.

       O.      JUUL Unraveled Decades of Progress in Reducing Teen Smoking by
               Exploiting Regulatory Loopholes.
       237.    The teen vaping epidemic was by design, not by accident.

       238.    When JUUL was first developed, the FDA’s regulations on tobacco products were

vague as to whether they applied to vaping devices. Because the regulations did not explicitly

identify electronic vaping devices that dispensed tobacco and nicotine as a regulated product,

JUUL interpreted those regulations to mean that it could sell its dangerous products to anyone,

regardless of their age, and that it did not have to comply with the advertising and labeling
restrictions that restricted other tobacco companies.

       239.    As other vaping companies began to enter the market, JUUL no doubt knew that

this gray area was unlikely to stay gray for long. Knowing that the clock was ticking, JUUL went

on a wild spree to get as many young people addicted as possible while it still viewed itself as

“unregulated.” The aggressive advertising described above was designed not just to sell the

products to teenagers, but to sell the product to as many teenagers as possible while it still had a

plausible defense to any assertion that it was violating FDA regulations. By hooking teens, JUUL




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not only ensured it would have loyal consumers for decades, but those teens would influence their

friends.

       240.     Moreover, by pumping social media platforms full of images of cool, young people

having fun while JUULing, JUUL ensured that everyone from adults to young children, would

think JUULing was a cool, fun, and safe activity. Just as RJR Reynolds learned with Joe Camel,

even very young children would in turn be more likely to form strong, positive associations with

the tobacco product and be more susceptible to trying it in the future.

       241.     In 2017, the FDA announced that it would be taking steps to regulate vaping devices

such as JUUL and other ENDS. Regulations were proposed and ultimately went into effect in late

2018. But the damage was done, and it was too late for Mr. Lingnofski.

       242.     In 2018, after the FDA opened an investigation and lawsuits were filed, JUUL set

out to rewrite its history. It has removed from its website and much of the internet images of

glamorous young models seductively exhaling clouds of vapors. JUUL’s website now pictures

middle-age adults in non-glamorous settings and suggests that JUUL solely exists for the benefit

of adult smokers looking for an alternative. Although JUUL now markets its product as a smoking

cessation device (“Switch to JUUL”), it has not received FDA approval as a modified risk tobacco

product or as a nicotine replacement therapy, and JUUL’s e-cigarette has not participated in any

FDA approval process analyzing its risks and benefits. While JUUL has also announced some
half-hearted voluntary measures to reduce access to young people, the cat cannot go back in the

bag. The viral marketing campaign and images live on, the candy flavors are still available, and

the product remains designed to maximize the nicotine delivery for young people, leading to

devastating health consequences.

       243.     To this day, JUUL has not disclosed the health risks associated with its products,

has not recalled or modified its products despite the known risks, and continues to foster a public

health crisis, placing millions of young people in harm’s way.




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          P.     JUUL’s Conduct Harmed Mr. Lingnofski
          244.   Mr. Lingnofski first tried JUUL in January 2017, when the device became

especially ubiquitous among his high school friends. Mr. Lingnofski was under the assumption

that JUULing was fun, healthy and cool.

          245.   Mr. Lingnofski started using JUUL with his friends, largely because it had a cool

design, appealing flavors, and was fun to use. Part of the attraction for Mr. Lingnofski was the

discreet slick design that would avoid detection from teachers, coaches or other authority figures.

The flavors attracted him as well. He would have never tried JUUL if it were only sold in tobacco

flavor.

          246.   Before Mr. Lingnofski tried JUUL, he was not addicted to nicotine, nor had he tried

cigarettes.

          247.   Mr. Lingnofski initially was attracted to JUUL’s mint flavor. He purchased JUUL

devices and pods at gas stations close to his home in Texas and thereafter Wisconsin. At gas

stations, Mr. Lingnofski was exposed to JUUL’s point of sale advertising, promotions and

messaging.

          248.   Like the majority of young people surveyed, Mr. Lingnofski was not aware when

he first began “JUULing” how much nicotine the device contained, or that it carried any health

risks.

          249.   Mr. Lingnofski relied to his detriment on JUUL’s representations that the product
was safe, not harmful, and fun.

          250.   JUUL never warned Mr. Lingnofski that JUUL was addictive, dangerous, could

cause him to suffer mood disorders, or would permanently alter his brain.

          251.   Had Mr. Lingnofski known that JUUL was overly addictive, carried health risks,

and would cause the problems it has in his health and personal life, he never would have tried it.

          252.   JUUL never disclosed that it had manipulated the nicotine in JUUL to deliver

massive doses of nicotine that could addict him almost immediately, an addiction that he will now
fight for the rest of his life.




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       253.    JUUL never instructed Mr. Lingnofski that the product was unsafe for him, nor how

much JUUL was safe to consume.

       254.    Had Mr. Lingnofski known that JUUL was not safe, was addictive, dangerous,

could cause mood disorders, cardiovascular issues, could permanently alter his brain and impair

his mood and mind, that JUUL had manipulated nicotine to maximize addiction, or that each

JUULpod delivered substantially more nicotine than a pack of cigarettes, he would not have used

or continued to use JUUL.

       255.    Within one puff of JUUL, Mr. Lingnofski became addicted to nicotine. The level

of nicotine his body required increased over time, and before long he was consuming up to three

pods per day on some days. As his use steadily increased, he began using JUUL immediately upon

waking, all throughout the day, and then just before going to sleep. He would JUUL during class,

at home, while driving, practically anywhere that he could get away with it.

       256.    Mr. Lingnofski struggled to function without nicotine, and when he tried to quit

using the product using nicotine patches and gum, he has been unable to do so successfully.

       257.    Before he started to use JUUL, Mr. Lingnofski was a healthy, young student. He

exhibited no signs or indications that he had an addictive personality. While he has and will

continue to fight his addiction and to lead as normal a life as possible, Mr. Lingnofski’s brain

injuries have caused him to become more withdrawn and irritable.
       258.    As a direct and proximate result of JUUL’s conduct, Mr. Lingnofski suffered life-

altering and permanent injuries, including: severe nicotine addiction and permanent brain changes.

       259.    As a result of his injuries caused by JUUL, Mr. Lingnofski has incurred and will

incur significant medical and other expenses to sustain and/or fight his nicotine addiction for the

rest of his life, pain and suffering, and emotional distress.

VI.    CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
                            Strict Products Liability - Design Defect

       260.    Mr. Lingnofski incorporates the above and below allegations by reference.



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       261.    At all relevant times, JUUL Labs, in concert and aided by Defendants, designed,

engineered, developed, manufactured, fabricated, assembled, equipped, tested or failed to test,

inspected or failed to inspect, labeled, advertised, promoted, marketed, supplied, distributed,

wholesaled and/or sold the JUUL Devices and Pods (“JUUL Products”) that Mr. Lingnofski

consumed and which were intended by Defendants to be used as a method of ingesting nicotine

and the other aerosolized constituents of JUUL’s nicotine solution.

       262.    JUUL Products were defective in design in that they did not perform as safely as

an ordinary consumer would have expected them to perform when used in an intended or

reasonably foreseeable way.

       263.    Defendants had constructive notice or knowledge and knew, or in the exercise of

reasonable care should have known, that its JUUL Products under ordinary use were harmful or

injurious, particularly to youths and adolescents, including the Mr. Lingnofski. Defendants knew

or, should have known the risks inherent in minors ingesting nicotine, particularly severe lifelong

nicotine addiction and decreased brain development. These are serious injuries in that they affect

not only the short-term quality, but the remainder of the young person’s life.

       264.    The JUUL Defendants claim they designed JUUL for use by adult smokers.

However, Defendants designed and marketed their products to appeal to nonsmokers, youths and

adolescents and to encourage them to buy and use the product. Defendants defectively designed
JUUL in a number of ways.

       265.    JUUL products are inherently defective because they contain and deliver

significantly more nicotine than JUUL represents and significantly more nicotine than traditional

cigarettes. Moreover, JUUL is unreasonably dangerous and therefore defective in design because

it is made to create and sustain addiction. JUUL designed the product to contain more nicotine

than necessary to satisfy a cigarette smoker’s nicotine craving with the intention of creating

addiction. JUUL’s nicotine salts enhance the risk and severity of addiction; it supplies nicotine at

high levels without any of the intake harshness associated with other nicotine products.
Furthermore, JUUL is defectively designed in that it uses flavors that appeal to minors and



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enhances minors’ ability to intake dangerous amounts of nicotine. The risks inherent in the design

of JUUL outweigh significantly any benefits of such design.

       266.    In addition, JUUL products are inherently defective in that it is created to be easy

to hide, a design that is enticing to minors. Lifelong smokers are accustomed to the open,

notorious and inconvenient act of smoking cigarettes – the smell and taste of cigarettes as well as

the need to step outside and smoke. These are traditional properties of smoking a cigarette that

smokers actually often appreciate and enjoy. A smoke break has been valued for year by smokers.

A device that is easy to hide, tastes good, and does not smell is not necessary to draw in lifelong

smokers as customers, but it is entirely necessary to draw in first time smokers and minors. The

physical appearance of JUUL makes it easy for minors to hide it at school or at home by

concealing it in their clothing, backpacks, markers, or even their hand, or by passing it off as a

USB or another device, a feature that would not be necessary or appealing to a lifelong smoker.

However, the design is most certainly convenient to a minor. It also is designed in such a way as

to look completely harmless. Resembling a USB drive that tastes good in this technology driven

age, the JUUL device is duly attractive to nonsmokers of every age.

       267.    The benefits of JUUL products’ design are not outweighed by their risks,

considering the gravity of the potential harm resulting from the use of the products, the likelihood

that harm would occur, the feasibility and cost of an alternative safer design at the time of
manufacture, and the disadvantages of an alternative design.

       268.    At all times relevant, Defendants could have employed reasonably feasible

alternative designs to prevent the harms discussed in the complaint. Defendants could have

created the product to not specifically appeal to minors and could have created the product to

appeal more to current adult smokers. Defendants also could have significantly lowered the

nicotine content while still satisfying an adult smoker’s nicotine cravings, maintaining the same

need JUUL products so claim to meet. Defendants could have designed this product to not contain

flavors that appeal to minors and make it easier to intake dangerous levels of nicotine.




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       269.    At all times relevant, Mr. Lingnofski was unaware of the design defects described

in the Complaint. Further, Defendants knew or had reason to know that youths and adolescents

would not fully realize the dangerous and addictive nature of the JUUL products and the long-

term complications nicotine addiction can present, or that, due to their youth, inexperience and/or

immaturity of judgment, would recklessly disregard such risks.

       270.    As a result of JUUL’s conduct, Mr. Lingnofski was harmed directly and

proximately by Defendants’ defectively designed JUUL e-cigarette as described herein. Such

harm includes significant exposure to toxic substances, which may cause or contribute to causing

disease; mood disorders and severe nicotine addiction, both permanent injuries that Hunter will

now struggle with for the rest of his life; Mr. Lingnofski’s exposure to such a high content of

nicotine has also affected his brain development at such a crucial age, an injury that cannot be

undone; and economic harm in that he would not have purchased JUUL or would have paid less

for it if he had known the true facts and that he has paid a premium as a result of Defendants’

defective products.

                                SECOND CAUSE OF ACTION
                          Strict Products Liability - Failure to Warn
       271.    Mr. Lingnofski incorporates the above and below allegations by reference.

       272.    At all times relevant, Defendants manufactured, marketed, distributed, and/or sold

the JUUL Products that Mr. Lingnofski consumed.
       273.    At all times relevant, Defendants were well-aware that JUUL is a dangerous

product that contains highly addictive levels of nicotine and subject users to severe nicotine

addiction and other serious medical conditions, as described in this Complaint. Further, the JUUL

products that Mr. Lingnofski consumed had other potential risks that were known or were

knowable in light of the scientific and medical knowledge that was generally accepted in the

scientific community well before and at the time of manufacture, market, distribution, and sale.

Despite having that knowledge, Defendants failed to adequately warn the minor Mr. Lingnofski
of the dangerous, addictive nature of JUUL as well as the multitude of health risks it posed.




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       274.    The potential risks presented a substantial danger when the JUUL Products were

used or misused in an intended or reasonably foreseeable way.

       275.    At all times relevant, Mr. Lingnofski would not have recognized the risks of using

a JUUL device with a JUUL pod because Defendant JUUL has intentionally downplayed,

misrepresented, concealed, and failed to warn of the heightened risks of nicotine exposure and

addiction.

       276.    Further, the ordinary consumer of JUUL Products would not have recognized the

potential for risks for the same reasons.

       277.    JUUL Products were defective and unreasonably dangerous when they left

Defendants’ possession because they did not contain adequate warnings, including warnings that

the products are not safe for anyone under 26 years old, may cause strokes, heart attacks and other

cardiovascular injuries, are powerfully addictive, may cause permanent brain changes and mood

disorders, may impair learning and cognition.         Additionally, the products lacked sufficient

instructions, including that the product should not be used concurrently with cigarettes, and

instructions regarding how many pods are safe to consume in a day.

       278.    Instead, as described herein, Defendants marketed their products to young people

and made them available in youth-friendly colors and flavors. Defendants also designed their

products to be more palatable to youth and nonsmokers by increasing JUUL’s inhale-ability,
incorporating appealing flavors, and increasing the level of nicotine that is absorbed by users,

making them even more addictive and dangerous.

       279.    Defendants had constructive notice or knowledge and knew, or in the exercise of

reasonable care should have known, that its Products were dangerous, had risks, and were

defective without adequate warnings or instructions, including because delivering high doses of

nicotine to a young person could cause severe addiction to nicotine, permanently alter the structure

of the developing brain and resulting in irreversible, life-altering injuries.

       280.    In all forms of advertising as well as social media communications, Defendants
failed to adequately warn or instruct foreseeable users, including youth and adolescent users, that



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JUUL products were unreasonably dangerous to them and created a high level of risk of harms

caused by nicotine exposure and addiction as explained herein. Defendants failed to adequately

warn in their advertising, social media communications, or anywhere on the product label that the

product was not for sale for minors and should not be used or consumed by them. Instead, as

described herein, Defendants marketed their products to minors and made them available in

youth-friendly colors and flavors. Defendants also designed their products to be more palatable

to youth and nonsmokers by increasing JUUL’s inhale-ability and increased the level of nicotine

that is absorbed by users, making them even more addictive.

       281.    The defects in JUUL Products, including the lack of warnings, existed at the time

the JUUL pods and devices were sold and/or when the JUUL pods and devices left JUUL’s

possession or control.

       282.    As a result of Defendants’ failures to adequately warn and/or instruct, Mr.

Lingnofski was harmed directly and proximately as described herein. Such harm includes

significant exposure to toxic substances, which may cause or contribute to causing disease; severe

nicotine addiction and mood disorders, both permanent injuries that Mr. Lingnofski will now

struggle with for the rest of his life; Mr. Lingnofski’s exposure to such a high content of nicotine

has also affected his brain development at such a crucial age, an injury that cannot be undone; and

economic harm in that he would not have purchased JUUL or would have paid less for it if he had
known the true facts and that he had paid a premium as a result of Defendants’ failure to warn.


                                THIRD CAUSE OF ACTION
                              Negligence and/or Gross Negligence

       283.    Mr. Lingnofski incorporates the above and below allegations by reference.

       284.    Defendants had a duty and owed a duty to Mr. Lingnofski to exercise a degree of

reasonable care including, but not limited to: ensuring that JUUL marketing does not target minor;

ensuring that JUUL devices and JUUL pods are not sold and/or distributed to minors and are not
designed in a manner that makes them unduly attractive to minors; designing a product that is not




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defective and unreasonably dangerous; designing a product that will not addict youth or other

users to nicotine; adequately warning of any reasonably foreseeable adverse events with respect

to using the product. Defendants designed, produced, manufactured, assembled, packaged,

labeled, advertised, promoted, marketed, sold, supplied and/or otherwise placed JUUL Products

into the stream of commerce, and therefore owed a duty of reasonable care to avoid causing harm

to those consumed it, such as Mr. Lingnofski.

       285.    JUUL’s Products were the types of products that could endanger others if

negligently made, promoted, or distributed. Defendants knew the risks that young people would

be attracted to their electronic cigarette devices and JUUL pods and knew or should have known

the importance of ensuring that the products were not sold and/or distributed to anyone under age

26, but especially to minors.

       286.    Defendants knew or should have known that their marketing, distribution, and

sales practices did not adequately safeguard Mr. Lingnofski from the sale and/or distribution of

electronic cigarette devices and JUUL pods and, in fact, induced minors to purchase JUUL

products.

       287.    Defendants were negligent in designing, manufacturing, supplying, distributing,

inspecting, testing (or not testing), marketing, promoting, advertising, packaging, and/or labeling

JUUL’s Products.
       288.    As a powerfully addictive and dangerous nicotine-delivery device, Defendants

knew or should have known that JUUL Products needed to be researched, tested, designed,

advertised, marketed, promoted, produced, packaged, labeled, manufactured, inspected, sold,

supplied and distributed properly, without defects and with due care to avoid needlessly causing

harm. Defendants knew or should have known that its JUUL Products could cause serious risk

of harm, particularly to young persons like Mr. Lingnofski.

       289.    Defendants were negligent, reckless and careless and failed to take the care and

duty owed to Mr. Lingnofski, thereby causing Mr. Lingnofski to suffer harm.




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       290.    The negligence and extreme carelessness of Defendants includes, but is not limited

to, the following:

       a.      Failure to perform adequate testing of the JUUL Products prior to marketing to

ensure safety, including long-term testing of the product, and testing for injury to the brain and

cardiovascular systems, and other related medical conditions;

       b.      Failure to take reasonable care in the design of JUUL’s Products;

       c.      Failure to use reasonable care in the production of JUUL’s Products;

       d.      Failure to use reasonable care in the manufacture of JUUL’s Products;

       e.      Failure to use reasonable care in the assembly of JUUL’s Products;

       f.      Failure to use reasonable care in supplying JUUL’s Products;

       g.      Failure to use reasonable care in distributing JUUL’s Products;

       h.      Failure to use reasonable care in advertising, promoting, and marketing JUUL’s

Products;

       i.      Promotion of JUUL to young people under age 26, and especially to minors;

       j.      Use of flavors and design to appeal to young people under age 26, and especially

to minors, in that the products smell good, look cool and are easy to conceal from parents and

teachers;

       k.      Use of design that maximizes nicotine delivery while minimizing “harshness”,
thereby easily creating and sustaining addiction;

       l.      Failure to prevent JUUL from being sold to young people under age 26,

particularly to minors;

       m.      Failure to prevent JUUL use among young people under age 26, particularly for

minors;

       n.      Failure to curb JUUL use among young people under age 26, particularly for

minors;

       o.      Failure to develop tools or support to help people addicted to JUUL cease using
the product, including manufacturing lesser amounts of nicotine;



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       p.      Failure to reasonably and properly test and properly analyze the testing of JUUL’s

Products under reasonably foreseeable circumstances;

       q.      Failure to warn its customers about the dangers associated with use of JUUL’s

Products, in that it was unsafe for anyone under age 26, significantly increases blood pressure,

carries risks of stroke, heart attacks, and cardiovascular events, is powerfully addictive, can cause

permanent brain changes, mood disorders, and impairment of thinking and cognition.

       r.      Failure to instruct customers not to use the product if they were under 26,

particularly minors, and failing to provide any instructions regarding a safe amount of JUUL pods

to consume in a day.

       s.      Failure to ensure that JUUL’s Products would not be used by persons like Mr.

Lingnofski who were not smokers and who were under age 26, particularly minors;

       t.      Failure to warn customers that JUUL had not adequately tested or researched JUUL

Products prior to marketing to ensure safety, including long-term testing of the product, and testing

for injury to the brain and cardiovascular systems, and other related medical conditions;

       u.      Failure to utilize proper materials and components in the design of JUUL’s

Products to ensure they would not deliver unsafe doses of nicotine;

       v.      Failure to use due care under the circumstances;

       w.      Failure to take necessary steps to modify JUUL’s Products to avoid delivering high
doses of nicotine to young people and repeatedly exposing them to toxic chemicals;

       x.      Failure to recall JUUL’s Products; and

       y.      Failure to inspect JUUL’s Products for them to operate properly and avoid

delivering unsafe levels of nicotine to young persons.

       291.    Defendants breached the duties they owed to Mr. Lingnofski and in doing so, were

wholly unreasonable. A responsible company, whose primary purpose is to help adult smoker,

would not design a product to appeal to minors and nonsmokers nor market their products to

minors and nonsmokers. If they are aware of the dangers of smoking and nicotine ingestion enough




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to create a device to help people stop smoking, then they are aware of the dangers enough to know

that it would be harmful for young people and nonsmokers to use.

           292.     But for Defendants’ duties and breaches thereof, Mr. Lingnofski would not have

been harmed as alleged in the Complaint.

           293.     Mr. Lingnofski was harmed directly and proximately by Defendants’ negligence.

Such harm includes significant exposure to toxic substances, which may cause or contribute to

causing disease; severe nicotine addiction and mood disorders, permanent injuries that Mr.

Lingnofski will now struggle with for the rest of his life; Mr. Lingnofski’s exposure to such a high

content of nicotine has also affected his brain development at such a crucial age, an injury that

cannot be undone; and economic harm in that he would not have purchased JUUL, would have

paid less for it if he had known the true facts, or would have been unable to purchase the JUUL

products altogether and that he has paid a premium because of Defendants’ negligence.


                                      FOURTH CAUSE OF ACTION
                                 Negligence – Wanton and Willful Conduct
           294.     Mr. Lingnofski incorporates by reference paragraphs above as if fully set forth

herein.

           295.     Defendants had a duty and owed a duty to Mr. Lingnofski to exercise a degree of

reasonable certainty including, but not limited to: ensuring that JUUL marketing does not target

minors, and ensuring that JUUL devices and JUUL pods are not sold and/or distributed to minors.

The duty to minors involves “[t]he caution and care required of others toward the infant are

measured by the age, maturity, the capacity, and the intelligence of the child.”103 The totality of

the Mr. Lingnofski’s age, maturity level, capacity and intelligence heighten the duty Defendants

owed to Mr. Lingnofski.




103
      See Howell v. Roueche, 81 So.2d 297, 301 (Ala. 1955).



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       296.    Defendants knew the risks that minors would be attracted to their electronic

cigarette devices and JUUL pods and knew or should have known the importance of ensuring that

the products were not sold and/or distributed to minors and young people.

       297.    Defendants could have easily marketed the products to a whole different audience

of prior smokers as well as could have easily informed the ultimate consumers of the extremely

high nicotine content.

       298.    Defendants breached the duties they owed to Mr. Lingnofski and in doing so, were

wholly unreasonable. Defendants breached their heightened duties owed to minors when they

intentionally marketed and sold JUUL products to minors, which they should not have done.

       299.    Defendants’ acts and omissions constitute wanton and willful conduct, because

they constitute a total lack of care and an extreme departure from what a reasonably careful person

or a reasonably careful company that holds itself out as manufacturers of smoking cessation

devices would do in the same situation to prevent foreseeable harm to young persons, like Mr.

Lingnofski.

       300.    Defendants acted and/or failed to act willfully, and with conscious and intentional

disregard for the rights and interests of Mr. Lingnofski. Defendants’ acts and omissions had a

great probability of causing significant harm and in fact resulted in such harm.

       301.    But for Defendants’ duties and breaches thereof, Mr. Lingnofski would not have
been harmed as alleged in this Complaint.

       302.    Mr. Lingnofski was harmed directly and proximately by Defendants’ negligence

and willful and wanton conduct. Such harm include significant exposure to toxic substances,

which may cause or contribute to causing disease; severe nicotine addiction and mood disorders,

permanent injuries that Mr. Lingnofski will now struggle with for the rest of his life; Mr.

Lingnofski’s exposure to such a high content of nicotine has also affected his brain development

at such a crucial age, an injury that cannot be undone; and economic harm in that he would not

have been able to purchase JUUL if Defendant had properly utilized the state’s age safeguard to
protect minors. Nor would Mr. Lingnofski have purchased JUUL products had he known of the



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dangers. Mr. Lingnofski has paid and will continue to pay a premium because of Defendants’

negligence.

                                   FIFTH CAUSE OF ACTION
                                           Fraud

          303.   Mr. Lingnofski incorporates by reference paragraphs above as if fully set forth

herein

          304.   At all times relevant, Defendants fraudulently and deceptively sold or partnered to

sell products to Mr. Lingnofski as non-addictive nicotine delivery systems, or less addictive
nicotine products than cigarettes, when Defendant knew it to be untrue.

          305.   Defendants had a duty to disclose material facts about JUUL to Mr. Lingnofski, as:

          a.     Defendants disclosed some facts to Mr. Lingnofski about the nature and safety of

its products but intentionally failed to disclose other facts, making the disclosures it did make

misleading or deceptive; and

          b.     Defendants intentionally failed to disclose certain facts about the nature and safety

of JUUL products that were known only to Defendants and that Defendants knew Mr. Lingnofski

could not have known or reasonably discovered.

          306.   At all times relevant, Defendants fraudulently and deceptively sold or partnered to

sell JUUL products to Mr. Lingnofski as safe or not harmful, when Defendants knew it to be

untrue.

          307.   Defendants fraudulently and deceptively downplayed or minimized any risk

associated with e-cigarettes generally and JUUL in particular for young persons under age 26,

especially minors. At all relevant times, Defendant JUUL represented its products on its website

as a “smarter” choice. Defendant JUUL pitched investors by claiming that the product was not

harmful, and therefore any concern about addiction was irrelevant. Defendants and/or others

worked together to pitch news stories or other media content designed to downplay the risks of e-
cigarettes, suggesting that any concern was overblown, or a panic. These tactics mimic those used




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by the tobacco industry to sow seeds of doubt and confusion among the public, to initiate new

users, to keep customers buying JUUL products, and to avoid regulation or legislative efforts to

control sales.

       308.      Defendants fraudulently and deceptively failed to disclose to Mr. Lingnofski that

the JUUL creates an insatiable nicotine addiction, significantly increases blood pressure, can cause

mood disorders, induce seizures and other adverse health effects.

       309.      Defendants fraudulently and deceptively failed to disclose that they had not

adequately researched or tested JUUL to assess its safety before placing it on the market and

promoting it to young people under age 26.

       310.      Defendants also fraudulently and deceptively failed to disclose to Mr. Lingnofski

that the JUUL nicotine salts purchased were highly addictive in nature, making it extremely

difficult for one to cease purchasing JUUL pod refills.

       311.      Defendants further failed to disclose to Mr. Lingnofski that JUUL is designed to

create and sustain an addiction to nicotine. Defendants also manipulated the formulations of JUUL

devices and JUUL pods in ways that could and would impact their potency and addictiveness, and

Defendants did so without notifying Mr. Lingnofski. Defendants actively concealed the nicotine

content and nicotine potency of JUUL e-cigarettes.

       312.      Defendants fraudulently misrepresented to users the amount of nicotine consumed
by using JUUL. As previously explained, Defendant JUUL claims that one JUULPod is

“approximately equivalent to about 1 pack of cigarettes,” but that is false and misleading. The

amount of nicotine consumed from one JUULPod is actually equivalent to the amount of nicotine

consumed through at least two packs of traditional cigarettes.

       313.      Each of these misrepresentations and omissions were material at the time they were

made. In particular, each of the misrepresentations and omissions concerned material facts that

were essential to the analysis undertaken by Mr. Lingnofski as to whether to purchase or consume

a JUUL E-cigarette and/or JUUL pods.
       314.      Mr. Lingnofski did not know of the facts that Defendants concealed.



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         315.   Defendants intended to deceive Mr. Lingnofski and the public by concealing these

facts.

         316.   Defendants had a duty to accurately provide this information to Mr. Lingnofski. In

not so informing Mr. Lingnofski, Defendants breached their duty. Defendants also gained

financially from, and as a result of their breach.

         317.   Defendants had ample opportunities to disclose these facts to Mr. Lingnofski,

through packaging, advertising, retail outlets, and on social media. Defendants concealed material

information at all relevant times to this Complaint. Defendants have yet to disclose the truth about

JUUL products.

         318.   Mr. Lingnofski relied to his detriment on Defendants’ fraudulent omissions. Had

Mr. Lingnofski been adequately informed of the material facts concealed from him regarding the

safety of JUUL, and not intentionally deceived by Defendants, he would not have purchased or

used JUUL products.

         319.   Mr. Lingnofski was harmed directly and proximately by Defendants’ fraud. Such

harm includes significant exposure to toxic substances, which may cause or contribute to causing

disease; severe nicotine addiction and mood disorders, permanent injuries that Mr. Lingnofski

will now struggle with for the rest of his life; Mr. Lingnofski’s exposure to such a high content of

nicotine has also affected his brain development at such a crucial age, an injury that cannot be
undone; and economic harm in that he would not have purchased JUUL or would have paid less

for it if he had known the true facts and that he had paid a high premium as a result of Defendants’

fraud.

         320.   Defendants’ acts and omissions as described herein were committed maliciously,

oppressively, deliberately, with intent to defraud, and in intentional disregard of Mr. Lingnofski’s

rights, interests, and well-being to enrich Defendants. Defendants’ conduct was designed to

maximize Defendants’ profits even though Defendant knew that it would cause loss and harm to

Mr. Lingnofski.




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                                     SIXTH CAUSE OF ACTION
                                     Conspiracy to Commit Fraud

         321.   Mr. Lingnofski incorporates by reference paragraphs above as if fully set forth

herein

         322.   During all relevant times, including before Mr. Lingnofski consumed JUUL,

Defendant JUUL was part of a conspiracy with tobacco and e-cigarette industry players to

fraudulently conceal, misrepresent, and downplay the risks of e-cigarettes to boost profits at the

expense of public health. Defendants, for research and development, marketing, and distribution

purposes, engaged consultants, pundits, academics, lobbyists, media personalities, reporters,

researchers and other influencers to tout the safety of e-cigarettes, and benefits of nicotine, while

minimizing or downplaying the dangers, particularly to those under age 26, playing on the

vulnerabilities of young people. These tactics mimic those used by the tobacco industry to sow

seeds of doubt and confusion among the public, to initiate new users, to keep customers buying

JUUL products, and to avoid regulation or legislative efforts to control sales.

         323.   JUUL was aware that others in the e-cigarette and tobacco industry planned to

engage in a campaign of doubt to mislead, downplay, and deflect concerns about the risks of e-

cigarettes and nicotine, and to fraudulently conceal material information about the safety of these

products and compounds.

         324.   JUUL agreed with others in the e-cigarette and tobacco industry and intended that
the conspiracy to commit fraudulent concealment be committed.

         325.   Defendants well-understood and continues to understand that by working in concert

with other e-cigarette manufacturers and the tobacco industry, it can more effectively mislead and

fraudulently conceal material facts from the public, including Mr. Lingnofski, regarding risks of

its products, as described herein.

         326.   Defendants’ participation in this conspiracy was a substantial factor in causing Mr.

Lingnofski’s harm as alleged herein.




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         327.   Defendants’ acts and omissions as described herein were committed maliciously,

oppressively, deliberately, with intent to defraud, and in intentional disregard of Mr. Lingnofski’s

rights, interests, and well-being to enrich Defendants.          Defendant’s conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                SEVENTH CAUSE OF ACTION
                                 Intentional Misrepresentation
         328.   Mr. Lingnofski incorporates by reference paragraphs above as if fully set forth

herein

         329.   At all times relevant, Defendants represented to Mr. Lingnofski via the media,

advertising, website, social media, packaging, and promotions that:

         a.     JUUL products were safe or not harmful; and

         b.     That one JUUL Pod is “approximately equivalent to about 1 pack of cigarettes”

         330.   These representations were false. JUUL is unsafe for anyone under age 26,

especially minors. The amount of nicotine consumed from one JUULPod is actually equivalent to

the amount of nicotine consumed through at least two packs of traditional cigarettes.

         331.   Defendants knew these representations were false or made them recklessly without

regard for their truth. For example, JUUL claims that it did not study the safety of its products,

acknowledging that it had a vested interest, and instead left it to others to analyze their risks.
         332.   Defendants intended for Mr. Lingnofski to rely on these representations.

         333.   Each of these misrepresentations were material at the time they were made. In

particular, each of the misrepresentations concerned material facts that were essential to the

analysis undertaken by Mr. Lingnofski as to whether to purchase or consume JUUL ENDS or

Pods.

         334.   Defendants have yet to disclose correct these misrepresentations about JUUL

products.




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          335.   Mr. Lingnofski reasonably relied on these representations and was harmed as

described herein. Mr. Lingnofski’s reliance on Defendants’ representation was a substantial factor

in causing him harms, including mood disorders and becoming powerfully addicted to JUUL. Had

Defendants told Mr. Lingnofski the truth about the safety and composition of JUUL’s products,

he would not have purchased them.

          336.   Defendants’ intentional misrepresentation was a substantial factor in Mr.

Lingnofski’s harm as described herein, including that he became severely addicted to the nicotine

and incurred permanent brain changes, resulting in irreversible, life-altering injuries. He also

suffered economic harm in that he would not have purchased JUUL or would have paid less for

it if he had known the true facts and that he has paid a high premium as a result of Defendants’

fraud.

          337.   Defendants’ acts and omissions as described herein were committed maliciously,

oppressively, deliberately, with intent to defraud, and in intentional disregard of Mr. Lingnofski’s

rights, interests, and well-being to enrich Defendants.         Defendants’ conduct warrants an

assessment of punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.


                                  NINTH CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress
          338.   Mr. Lingnofski incorporates by reference paragraphs above as if fully set forth

herein.

          339.   Defendants’ conduct described herein, preying on youth and poisoning kids for

profit, is so outrageous in character and so extreme in degree as to go beyond all possible bounds

of decency. Defendants conduct is atrocious and utterly intolerable. Defendants’ outrageous

conduct caused and/or substantially contributed to Mr. Lingnofski’s injuries alleged herein.

          340.   Defendants’ intentional and reckless conduct caused, and continues to cause, severe
emotional distress on Mr. Lingnofski. Defendants interjected their product and themselves into the




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Mr. Lingnofski’s home and family, causing severe stress, strain, and emotional distress in their

home. The relationships and dynamic between Hunter and his friends and family has forever been

altered, resulting in Mr. Lingnofski suffering from severe emotional distress. Mr. Lingnofski’s

JUUL usage and addiction has also resulted in a loss of work opportunity and a loss of emotional

and mental control for an addiction he never intended to develop and that he is now unable to

control. Further, as described herein, Mr. Lingnofski’s addiction is a physical injury that has

damaged and altered his developing brain. Mr. Lingnofski’s addiction is no accident; rather, it is

the result of Defendants’ intentional, calculated behavior to addict him to nicotine to create a life-

long customer. Now, for the rest of his life, Mr. Lingnofski will either fight a nicotine addiction or

sustain a nicotine addiction, all because of Defendants’ outrageous conduct. Mr. Lingnofski has

likewise suffered economic damages related to addressing his addiction and the consequences

thereof.


                                 EIGHTH CAUSE OF ACTION
                                     Unjust Enrichment
          341.   Mr. Lingnofski incorporates by reference paragraphs above as if fully set forth

herein.

          342.   As described in this Complaint, Defendants knowingly sold or partnered to sell

JUUL products to Mr. Lingnofski in a manner that was unfair, unreasonable, unconscionable, and
oppressive.

          343.   As a result of Defendants’ intentional, unlawful, and deceptive actions described

above, Defendants were enriched at the expense of Mr. Lingnofski.

          344.   Under the circumstances, it would be against equity and good conscience to permit

Defendants to retain the ill-gotten benefits received from Mr. Lingnofski. Thus, it would be unjust

and inequitable for Defendants to retain the benefit without restitution to Mr. Lingnofski for the

monies paid to Defendants for its defective JUUL products.

VII.      PRAYER FOR RELIEF
          WHEREFORE, Mr. Lingnofski respectfully requests that the Court:



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       345.    Award Mr. Lingnofski compensatory, restitutionary, rescissory, general,

consequential, punitive and exemplary damages in an amount to be determined at trial, and also

including, but not limited to:

               a.      General Damages;

               b.      Special Damages, including all expenses, including incidental past and

future expenses, including medical expenses, and loss of earnings and earning capacity;

       346.    Award prejudgment interest as permitted by law;

       347.    Enter an appropriate injunction against Defendants and their officers, agents,

successors, employees, representatives, and assigns;

       348.    Appoint a monitor and retain jurisdiction to ensure that Defendants comply with

the injunctive provisions of any decree of this Court;

       349.    Enter other appropriate equitable relief;

       350.    Award reasonable attorneys’ fees and costs, as provided for by law; and

       351.    Grant such other and further relief as the Court deems just and proper.

VIII. JURY TRIAL DEMAND
       352.    Mr. Lingnofski demands trial by jury.



 Dated: November __,
                 8 2019
                                                       /s/ Andy D. Birchfield, Jr.
                                                       Andy D. Birchfield, Jr. (ASB-3625-C48A)
                                                       Joseph VanZandt (ASB-7655-U14D)
                                                       BEASLEY ALLEN CROW
                                                       METHVIN PORTIS & MILES, LLC
                                                       234 Commerce Street
                                                       Montgomery, AL 36103
                                                       Tel: 334-269-2343
                                                       Andy.Birchfield@BeasleyAllen.com
                                                       Joseph.VanZandt@BeasleyAllen.com

                                                       /s/ Keith R. Stachowiak
                                                       Keith R. Stachowiak (SBN1000050)
                                                       Thadd J. Llaurado (SBN1000773)
                                                       MURPHY & PRACHTHAUSER, SC
                                                       330 E. Kilbourn Ave, Suite 1200
                                                       Milwaukee, WI 53132
                                                       Tel: 414-271-1011



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                                 kstachowiak@murphyprachthauser.com
                                 tllaurado@murphyprachthauser.com


                                 Counsel for Plaintiff




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